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   REGIONAL (ENTl-<E f-'OR!NTERJ'MTIONAL
   COMMERCIAL ARBITRATION - LAGOS




                          F1NAl,AWARD




2A OZUMBA MBADIWE ROAD, V1CTORIA ISLAND, LAGOS. NIGERIA
TEL: +234 0923581002, .9091150853
E-maif:info@rcical.org,   Wt?bsite www.rcical.org
   Case 1:21-cv-02241-RJL Document 3-2 Filed 08/24/21 Page 2 of 119




                      IN THE.MATTEROF AN ARBITRATIO~~

 UNDERTHE RULESOF THE REGIONAL CENTREFOR INTERNATIONALCOMMERCIAL
                        ARBITRATION- LAGOS

                             HOLDEN IN LAGOS




BF.TWEEN


1. PICCOl NIGERIA Uiy\lTED                                  CLAIMANT
2. ENGR. P. A. CHIEjlNA  ,


AND



THEFEDERALREPUBUCOF I\IIGERIA                             RESPONDENT




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           THE REGIONALCENTREFOR INTERNATIONAL
           COMMERCIALARBITRATIONLAGOS(RCICAL)
                      RCICALRULES2008

                  IN THE MATTEROF AN ARBITRATION


                               BETWEEN


                     1. PICCOLNIGERIALIMITED
                     2. ENGR.P.A. CHIEJINA
                               (Claimants)


                                  AND


               THE FEDERALREPUBLICOF NIGERIA
                              (Respondent)




                           FINALAWARD


BEFORE:

MRS.DOROTHYUDEMEUFOT,SAN, FCIArb (U.K), Chartered Arbitrator.
                   SOLEARBITRATOR
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              THE REGIONALCENTREFOR INTERNATIONAL
              COMMERCIALARBITRATIONLAGOS(RCICAL)
                                RCICAL RULES 2008

                     IN THE MATTER OF AN ARBITRATION


                                      BETWEEN


                         1. PICCOLNIGERIALIMITED
                         2. ENGR.P.A. CHIEJINA
                                      (Claimants)


                                          AND


                  THE FEDERALREPUBLIC OF NIGERIA
                                    (Respondent)


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             THE REGIONALCENTREFORINTERNATIONAL
             COMMERCIAL ARBITRATIONLAGOS(RCICAL)
                               RCICALRULES2008

                     IN THE MATTER OF AN ARBITRATION



                                    BETWEEN



                         1. PICCOLNIGERIALIMITED
                         2. ENGR.P.A. CHIEJINA
                                   (Claimants)


                                       AND


                  THE FEDERALREPUBLICOF NIGERIA
                                  (Respondent)


                               FINALAWARD.

1.0   INTRODUCTIONAND STATEMENTOF FACTS.

1.1   The 1st Claimant, PICCOL Nigeria Limited (hereinafter referred to as the
      "Contractor") is a Limited Liability Company incorporated under the Laws of
      the Federal Republic of Nigeria, having its registered office at No. 13,
      Ekiomado Street, Off 4 S & T Road, Uselu Quarters, P. 6. Box 6392, Benin City,
      Edo State, Nigeria.

1.2   The 2 nd Claimant is an Engineer        by profession    and   the   Managing
      Director/CEO of the 1st Claimant.

1.3   The Respondent is the Government of the Federal Republic of Nigeria
      (hereinafter referred to as the "Employer") represented, at the time the
      contract was signed by the Honourable Minister of Inter-Governmental


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       Affairs, Special Duties & Youth Development/Chairman, National Committee
       on Ecological Problems whose business office is situated at the Ecological
       Fund Office (EFO),The Presidency, New Federal Secretariat Complex, Phase
       II, Bullet Building, Abuja.

1.4     Being desirous of undertaking the construction of the Gully Erosion Control
        Structures at Umuako Ubirilem, Orsu Local Government Area of lmo State,
        (hereinafter called "the works"), the Employer entered into an Agreement
        dated 20 th April, 2006, with the Contractor for the construction of the Gully
        Erosion Works.

1.5     The Employer appointed the Anambra - Imo River Basin Development
        Authority as the "Executing Agency" to provide appropriate Management and
        Supervision of the Project on its behalf.

1.6     The Employer also appointed Jones-Tech International Limited as Consultant
        to the Erosion Control Project.

1.7     The contract provides that payments to the Contractor shall be against a
        certificate issued under the hand of the Consultants containing a full itemised
        statement of the estimated value of the works executed, including materials
        for construction on site, up to the period covered by the statement.

1.8     The contract further provides that upon satisfactory execution of the works
        by the Contractor, the Employer covenants to issue the appropriate certificate
        and pay the Contractor the sums due to it with "minimal delay".

1.9     The duration of the contract is for one year, (52 weeks) and for a fixed sum of
        N255,898,518.75 (Two Hundred and Fifty Five Million, Eight Hundred
        and Ninety Eight Thousand, Five Hundred and Eighteen Naira; Seventy
        FiveKobo).

1.10 This dispute arises from an alleged breach of contract, pursuant to which the
     Claimants allege that the Respondent delayed payments duly certified by the
     Consultant and the Executing Agency, when the Respondent ought to have
     known that time is of the essence of the contract.

1.11 According to the Claimants, the Contractor mobilised to site and the work was
        .going on well until there was a change in Government and the new President
         Yar'Adua directed in 2007 that payments for all Federal Projects should be
         stopped.




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1.12 The Claimants aver that the delays in effecting payments for duly Certified
     Interim Payment Certificates (IPCs) ranged from two to six months for a
     contract of one year duration.

1.13 The Claimants allege that the delay in payment caused stoppage of work on
     the site for lack of funds, causing already completed works to deteriorate and
     the Claimants had to use the payments received for work already done to
     carry out repairs of deteriorated jobs.

1.14 In a bid to complete the job within time, the 2nd Claimant mortgaged his
     residential home to secure a banking facility, which he ha.s been unable to
     repay as a result of the Respondent's delayed payments.

1.15 The 2nd Claimant now faces the threat of the sale of his residential home by
     the Bank, pursuant to which he commenced legal action against the Bank, all
     to the knowledge of the Respondent.

1.16 The Claimants further allege that the Respondent's breach of contract has
     caused them loss and damage entitling them to the relief sought in this
     arbitration proceeding.

1.17 The Respondent on its part, denies any breach of contract and alleges that the
     1st Claimant is the party that actually breached the contract and is solely
     responsible fur whatever alleged damage it suffered.

1.18 The Respondent alleges that the 1st Claimant breached the contract by failing
     to complete the Project by the agreed one year period.

1.19 The Respondent further alleges that the 1st Claimant also breached            the
     contract by failing to insure the Project as agreed, and also by suspending   the
     work and abandoning the site. The Respondent also has issues with             the
     quality of the job done, which is the main cause of the deterioration of      the
     completed works.

1.20 On the Claimants' allegation that the Respondent had admitted liability and
       offered to pay the Claimants the sum of N60,000,000.00        (Sixty Million
       Naira) in full and final settlement of the damages suffered. The Respondent
       denies that it admitted any liability whatsoever for the Claimants' alleged
     . losses and states further that the said sum of N60,000,000.00 (Sixty Million
       Naira) was offered to the Claimants on compassionate grounds only and not
       on the basis of admission of liability.




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1.21   The Respondent therefore urges the Tribunal to dismiss the Claimants' claims
       in its entirety.

2.0    GOVERNINGLAW.
2.1    By the Agreement of the parties at the preliminary meeting held on 13 th July,
       2 O17, at the Regional Centre for International Commercial Arbitration, No. 2,
       Ozumba Mbadiwe Way, Victoria Island, Lagos, the contract shall be governed
       by Nigerian Law.

3.0    ARBITRATIONAGREEMENT.
3.1    Clause 18.0 of the contract provides that:
            '11.nydispute, controversy or claim arising out of or relating to
            this contract or the breach, termination or invalidity thereof,
            shall be settled by arbitration at the Regional Centre for
            International Commercial Arbitration, Lagos, under the
            applicable Arbitration Rules in the schedule to the Arbitration
            and Conciliation Act, Cap. 19 Laws of the Federation of Nigeria,
            1990."

4.0    PLACEOF ARBITRATION.
4.1    By the Agreement of the parties at the preliminary meeting held on   13th   July,
       2017, the seat of the Arbitration shall be Nigeria.

5.0    VENUEOF THE ARBITRATION.
5.1    By the Agreement of the parties at the preliminary meeting held on 13 th July,
       2017, the venue for the hearing of the Arbitration proceedin.g shall be:
           The Regional Centre for International Commercial Arbitration,
           2AOzumba Mbadiwe Way, Victoria Island, Lagos, Nigeria.

6.0    LANGUAGEOF THE ARBITRATION.

6.1    By the Agreement of the parties at the preliminary meeting held on 13th July,
       2017, the Language of the Arbitration proceeding shall be English.

7 .0   ARBITRALTRIBUNAL.

7.1    Mrs. Dorothy Udeme Ufot, SAN, FCIArb (U.K.) Chartered Arbitrator was
       appointed Sole Arbitrator by the Director of the Regional Centre for
       International Commercic1l Arbitration, Lagos on 26 th October, 2016.


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 7.2     PARTICULARSOF THE SOLEARBITRATOR.
                    Managing Partner
                    Dorothy Ufot & Co
                    Legal Practitioners, Investment Consultants and Arbitrators
                    2 nd Floor, Okoi Arikpo House
                    5, Idowu Taylor Street
                    Victoria Island,
                    Lagos.

8.0(A) REGISTRARAND THE REGISTRYOF THE TRIBUNAL.

              i.         The Regional Centre for International Commercial Arbitration, Lagos
                         is the Registry for the Reference.
                         Telephone:   +234(1)2705516, 2703572, 2692834
                         Email:       info@rcicalagos.org

              ii.        The Registrar of the Tribunal:
                         Mr. 0. S. Oru
                         Counsel
                         The Regional Centre for International Commercial Arbitration,
                         Lagos.
                         2A,Ozumba Mbadiwe Way,
                         Victoria Island, Lagos.
                         Tel: +2347034904962
                         Email: sionioru@yahoo.com

8.0(B) RECORDINGAND TRANSCRIPTIONOF THE PROCEEDING.

                    It was agreed that the Arbitral proceedings       shall be recorded   and
                    transcribed by the Registrar.

9.0    THE PARTIES. THEIR REPRESENTATIVES. COUNSEL AND THEIR
       WITNESSES.

       i.           The Claimants.
                    a.     PICCOLNIGERIALIMITED
                           13, Ekiomado Street
                           Off 4, S & T Road
                           Uselu Quarters
                           P. 0 Box 6392
                           Benin City
                           Edo State.


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               b.    Engr. P.A. Chiejina
                     Managing Director /CEO
                     Piccol Nigeria Limited
                     13, Ekiomado Street
                     Off 4 S & T Road
                     Uselu Quarters
                     P. 0 Box 6392
                     Benin City
                     Edo State.

        ii.   The Respondent.
              The Federal Government of Nigeria
              C/o Ecological Fund Office (EFO)
              Office of the Secretary to the Federal Government of Nigeria
              The Presidency
              New Federal Secretariat
              Complex, Phase II,
              Bullet Building
              Abuja.

9.1    THE PARTIES'COUNSEL.
       i.     The Claimants:
              Mr. Festus Akpoghalino, Esq.
              Festus Akpoghalino & Co.
              28, Blantyre Street
              Near ECWA Church
              Wuse II, Abuja
              Nigeria
              Tel: 08023342359
              08069279595
              Email: festusakpoghalino@yahoo.com

       ii.    The Respondent:
              a.    Mr. Abiodun Arijesuyo
                    The Legal Director's office
                    The Office of the Secretary
                    To the· Federal Government of Nigeria
                    3, Arms Zone, Abuja.
                    Tel: 0803581242
                    Email: biodunarijesuyo@yahoo.com


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                   b.      Dayo Akpata (PS-FMOJ/SGF)
                           Maimuna Lami Shiru
                           LindaAmego
                           Hamza Shaibu
                           Civil Litigation Department
                           Federal Ministry of Justice
                           Shehu Shagari Way
                           Abuja.
                           Tel: 07069078249, 08060008885

9.2     THE PARTIES' WITNESSES.

        1.   The Claimant:
             Engr. P.A. Chiejina
             Managing Director /CEO
             Piccol Nigeria Limited
             13, Ekiomado Street
             Off 4, S & T Road
             Uselu Quarters
             P. 0 Box 6392
             Benin City
             Eda State.

       2.    The Respondent:
             i.         Mr. Anthony Afuye
                        Soil Erosion and Flood Control Unit
                        Ecological Fund Office
                        Federal Secretariat
                        Phase II, Abuja.
             ii.        Mr. Cornelius Audu
                        Soil Erosion and Flood Control Unit
                        Ecological Fund Office
                        Federal Secretariat
                        Phase II, Abuja.
10.0   THE CONSULTANTTO THE PROJECT.
10.1   Jones-Tech International Limited
       2, Kanike Close, off Awolowo Road
       South-West Ikoyi, Lagos.
       Rep: Engr. Bassey Ekanem
       Tel: +234-1-2692819
       Email: info@jonestech.biz


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 11.0    THE EXECUTINGAGENCYFOR THE PROJECT.

 11.1    Anambra-Imo River Basin & Rural Development Authority.
         Head Office: Kilometre 10
                      Owerri-Aba Road
                      P.M.B.Owerri
                      Imo State, Nigeria.
         Tel:         083300330,087771800
         Email:       animbasin@yahoo.com

 11.2    The Executing Agency is now defunct.

 12.0   PROCEDURALHISTORY.

 12.1   Pursuant to the Notice of termination of contract dated g th August, 2013
        served on the Claimants by the Respondent, as well as the persistent threats
        by Skye Bank PLC to sell off the residential property of the znd Claimant,
        which he had mortgaged to secure the banking facility granted to the 1st
        Claimant for the execution of the contract, the Claimants served the
        Respondent with a Notice of Arbitration dated 26 th March, 2014, pursuant to
        Clause 18. 0 of the contract.

12.2    On 1st July, 2014, the Claimants filed a claim at the Abuja Multi Door Court
        House (AMDCH).

12.3    The proceeding at the AMDCHcould not go on as a result of the Respondent's
        objection to the filing of the claim at the AMDCH,which had no jurisdiction,
        pursuant to the parties' agreement in Clause 18.0 of the contract to resolve
        any dispute that arises between them at the Regional Centre for International
        Commercial Arbitration, Lagos.

12.4    By letter dated 3 rd August, 2016, the Claimants approached the Regional
        Centre for International Commercial Arbitration with a request for
        Arbitration following which the Centre by letter dated 20 th September, 2016,
        received by the Respondent on 29 th September, 2016, intimated the
        Respondent of the instant Arbitration proceeding.

12.5 The record of the Tribunal shows that the Claimants served the Respondent
     with other Notices of Arbitration which are not relevant to this proceeding.



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 12.6 On 26 th October, 2016, the Sole Arbitrator was appointed by the Director of
      the Regional Centre for International Commercial Arbitration, Lagos.

 12.7 On 27 th October, 2016, the Sole Arbitrator accepted her appointment.

 12.8 On 13 th July, 2017, the Sole Arbitrator held a preliminary meeting with the
      Parties, their Representatives and their Counsel at the Regional Centre for
      International Commercial Arbitration, Lagos.

 12.9 By Notice of Preliminary Objection dated 20 th September, 2017 together with
      a Written Address also dated 20 th September, 2017, the Respondent prayed
      the Tribunal to dismiss the Claimants' claims for lack of jurisdiction, for being
      incompetent and also for being statute barred.

 12.10 On 26 th October, 2017, the Claimants filed a Counter Affidavit and Written
       Address in opposition to ~he Preliminary Objection.
 12.11 The Tribunal dismissed the Respondent's Preliminary Objection, ruling that
       the Claimants' claims are not statute barred and the Tribunal has jurisdiction
       to hear and determine the said claims.
12.12 On 20 th February, 2018, the Tribunal held a Pre-Hearing Review Session with
      the parties and their Counsel. In attendance at the Pre-Hearing Review were
      the following persons:

       1. The Claimants.
            i.    Theophilus Orumor
                  Holding the brief of
                  Festus Akpoghalino Esq.
            ii.   2 nd Claimant
                  Engineer P.A. Chiejina
                  for himself arid for the 1st Claimant.
       2. The Respondent.
            i.    Hamza Shuaibu
                  Senior State Counsel from the
                  Ministry of Justice, Abuja,
                  Appearing with Mrs. Linda Amego,
                  Assistant Director, Ministry of Justice
                  Abuja.



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12.13 On 2Qth February, 2018, the Tribunal ordered the parties to file their
      amended pleadings in order to correct the errors and inaccuracies in the
      Claimants' Points of Claim. The Pre-Hearing Review and the hearing were
      accordingly adjourned to 9 th, 10 th and 11 thApril, 2018.

12.14 The Claimants filed their Amended Points of Claim dated 1st March, 2018
      together with the Witness Statement of the 2 nd Claimant, Engr. P. A. Chiejina
      sworn before Pius I. Oiwoh Esq., Notary Public on 5 th March, 2018, together
      with documents numbered as Annexures 1 - 40 to be relied upon as exhibits
      at the Trial.

12.15 The Respondent filed its Amended Points of Defence dated 26 th March, 2018
      together with the Witness Statements of Mr. Anthony Afuye and Mr. Audu
      Cornelius sworn before Ifeanyi Oma Ntima Esq., Notary Public on 6 th
      September, 2017, together with documents numbered as Annexures 1A - 49
      at pages 23 - 143 of the Respondent's bundle to be relied upon as exhibits at
      the Trial. The Respondent did not file any Counterclaim.

12.16 The Claimants filed their Amended Reply to the Amended Points of Defence
      dated 3 rd April, 2018 with a further Witness Statement of .:he 2 nd Claimant,
      Engr. P.A. Chiejina sworn before Pius I. Oiwoh Esq., Notary Public on 3rd April,
      2018, together with documents attached thereto.

12.17 The Claimants filed their Opening Address dated 6th April, 2018.

12.18 The Respondent filed its Opening Submission also dated 6 thApril, 2018.

12.19 A second Pre-Hearing Review and the Hearing took place on 9 th and 10 th
      April, 2018.

12.20 The Respondent filed its Closing Submissions dated 6 th June, 2018, and also
      filed its submissions on costs dated 6 thJune, 2018.

12.21 The Claimants filed their Closing Address dated 2nd August, 2018, on 7th
      August, 2018.

12.22 On 1st November, 2018, the parties' Counsel adopted their Final Written
     ··Submissions.




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  12.23 On 1st November, 2018, the Respondent's Counsel drew the attention of the
        Tribunal to the fact that the Claimants were supposed to file their Closing
        Submission on 23 rd July, 2018, but they filed it on 7th August, 2018 without
        any extension of time granted. That being the case, the Claimants do not have
        any Final Written Submission before the Tribunal. The Claimants' Counsel
        sought leave to regularize his position by orally applying for an extension of
        time to file the Claimants' written submission out of time, which was granted
        by the Tribunal after a lengthy argument between the parties' Counsel. The
        Claimants' Closing Submission dated 2nd August, 2018, was deemed properly
        filed and served on 1st November, 2018. The Respondent's Counsel asked for
        costs in the sum of NS00,000.00         (Five Hundred Thousand Naira).
        However, the Tribunal awarded costs of Nl00,000.00            (One Hundred
       Thou,sand Naira) in favour of the Respondent.

 12.24 The parties' Counsel then re-adopted their Final Written Submissions after
       the Tribunal granted the Claimants extension of time to file their written
       submission, thus bringing the hearing to a close.


 13.0 THE PLEADINGSOF THE PARTIES.

 13.1 THE CLAIMANTS.

       The Claimants filed the following pleadings:

       i.      Amended Points of Claim dated 1st March, 2018.

       ii.     1st Witness Statement of 2nd Claimant, Engr. P. A. Chiejina swor,n on 5th
               March, 2018.

      iii.     2nd Witness Statement of the 2nd Claimant, Engr. P. A. Chiejina sworn on
               3rd April, 2018.


      iv.     Amended Reply to the Points of Defence dated 3 rd April, 2018.

      v.      The Claimants' Opening Submission dated 6th April, 2018.

      vi.     The Claimants' Closing Address dated   2nd   August, 2018.

      vii. The Claimants' Issues for Determination dated 10 th November, 2017.




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  13_.2 THERESPONDENT.

             The Respondent filed the following pleadings:

             i.     Amended Points of Defence dated 26 th March, 2018.

             ii.    Witness Statement of Anthony Afuye sworn on 6th September, 2017.

             iii. Witness Statement of Audu Cornelius sworn on 6 th September, 2017.

             iv.    Respondent's Opening Submission dated 6 th April, 2018.

             v.     Respondent's Closing Submission on Costs dated 6 th June, 2018.

         vi.        Respondent's Submission on Costs dated 6 th June, 2018.

         vii. Respondent's Issues for Determination dated 27 th September, 2017.


 14.0    PROCEDURALORDERSISSUEDBYTHE ARBITRALTRIBUNAL.

 14.1 The Tribunal issued the following Orders for Direction during the course of
      this arbitration proceeding as follows:

         i.         Procedural Order No.1 dated 31 st July, 2017.

         ii.       Procedural Order No. 2 dated 31 st August, 2017.

         iii. Procedural Order No. 3 dated 25 th October, 2017.

        iv.        Procedural Order No. 4 dated 19th December, 2017.

        v.         Procedural Order No. 5 dated 21 st February, 2018 and

        vi.        Procedural Order No. 6 dated 18th April, 2018.

15.0    THE TRIBUNAL'SJURISDICTION.

15.1 The Respondent filed a Notice of Preliminary Objection datect 20 th September,
     2017, praying the Tribunal for the following:

        i.         An Order striking out the claims of the Claimants in this proceeding for
                   lack of jurisdiction.




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       ii.   An Order dismissing the claims of the Claimants in this proceeding for
             being incompetent.

 15.2 The Notice was supported by a 17-paragraph Affidavit.

15.3 The Respondent stated further that:

       1. The Claimants failed to serve the Respondent with a Not;ce of Arbitration
          as contemplated by Articles 3(1) & (2) of the Arbitration Rules First
          Schedule to the Arbitration and Conciliation Act as well as Articles 6.1
          & 6.2 of the Rules of Arbitration of the Regional Centre for
          International Commercial Arbitration, Lagos which is a condition
          precedent for instituting Arbitral proceeding.

      2. The purported Notice of Arbitration dated 26 th March, 2014 served by the
         Claimants is not with respect to the instant Arbitration and is
         incompetent, as it does not comply with the requirements of Article 3 (3)
         of the Arbitration Rules, First Schedule to the Arbitration and
         Conciliation Act as well as Article 6.3 of the Rules of the Regional
         Centre for International Commercial Arbitration, Lagos as to the
         information that shall be contained in the Notice of Arbitration.

      3. The purported Notice of Arbitration dated 26 th March, 2014, was not
         addressed to the "Employer", i.e. the Respondent as described in Article
         27.0 of the Contract.

      4. The Claimants concealed material facts from the Honourable Tribunal.

      5. The Claimants' claim is statute barred by virtue of the Limitation Act,
         Chapter 522, Laws of the Federal Capital Territory (FCT).

15.4 The Notice of Preliminary Objection was supported by a 17-paragraph
     Affidavit deposed to by one Adamu Baba Mohammed, a Written Address and
     5 Annexures.

15.5 In opposing to the Preliminary Objection, the Claimants filed a 23-paragraph
       Counter Affidavit deposed to by Peter Arinze Chiejina, the 2 nd Claimant, on
     · 26 th October, 2017. The Counter Affidavit was supported by a Reply to the
       Notice of Preliminary Objection also dated 26 th October, 2017.




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 15.6 In response to the Respondent's allegation that the Notice of Arbitration was
      not addressed to the "Employer", i.e. the Respondent as described in Article
      27.0 of the Contract Agreement, the Claimants stated that tht:!ywere awarded
      contract for the control of erosion by letter of award signed by the Permanent
      Secretary, signing for the Honourable Minister of Inter-Governmental Affairs,
      Youth Development and Special Duties, who was then in charge as Chairman
      of the National Committee on Ecological Problems in Nigeria, dated 7th
        March, 2006.

       That the Office of the Honourable Minister for Inter-Governmental Affairs,
       Special Duties and Youth Development who was then in charge of the
       Ecological Fund Office no longer exists and had become defunct shortly after
       the commencement of the Project.

15.7 The Claimants stated further that after the Ministry of Inter-Governmental
     Affairs ceased to exist, the Ministry of Environment was saddled with
     Ecological responsibilities and the Ecological Fund was put under it in 2010;
     however, the Ministry of Environment was relieved of its responsibility for
     the Ecological Fund. The Ecological Fund Office became subsumed as an
     Agency under the Office of the Secretary to the Federation, where it has been
     till date and where all matters relating to the Claimants' contract, the subject
     matter of this arbitration are supervised till date.

15.8 According to the Claimants, the following Offices have dealt with the
     Claimants as agents of the Federal Government in relation to this contract:

       i.     The Ministry of Inter-Governmental      Affairs, Special Duties aJ?.dYouth
              Development;

       ii.    The Ministry of Environment;

       iii.   The Ecological Fund Office;

       iv.    The Pr.:!sidency and;

       v.     The Office of the Secretary of the Federation.

15.9 The Claimants allege that the preliminary objection to the Tribunal's
     jurisdiction is an afterthought because the Respondent participated in the




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        proceedings     after filing its Points of Defence and even paid the costs of
        Arbitration.

 15.10 The Claimants further state that since the claim at the Regional Centre for
       International Commercial Arbitration did not raise a new cause of action, the
       Notice of Arbitration dated 26 th March, 2014 is valid for the present
       arbitration proceeding.

 15.11 The Claimants stated further that the Points of Defence was filed on 6th
       September, 2017 and the preliminary objection was filed on 20 th September,
       2017, 14 days after the Points of Defence was filed and in violation of Article
       24.4 of the RCICALRules and Section 12 (3) of the Arbitration and
       Conciliation Act. Thus, the Respondent is precluded from filing the
       preliminary objection because Article 24.4 of the Rules of the RCICAL,2008
       provides that:

             'it plea that the Arbitral Tribunal does not have jurisdiction shall be
             raised not later than in the Statement of Defence ......."

 15.12 The Tribunal ruled inter alia that:

        1.   The Respondent had notice of the ongoing Arbitration at the RCICAL
             having been served with the Request for Deposit of costs in the
             Arbitration dated 20 th September, 2017.

       2.    The Notice of Arbitration       dated 26 th March, 2014 is valid for this
             Arbitration as:

             a.     The Claimants complied substantially with the provisions ·of Article
                    3 (3) of the Arbitration Rules, First Schedule to the Arbitration
                  · and Conciliation Act, which is impari material with Article 6.3 of
                    the Rules of RCICALin respect of the contents of the Notice of
                    Arbitration.

             b.    There is no fresh cause of action in the ongoing Arbitration at the
                   Regional Centre for International Commercial Arbitration.

     · 3.    The action is not statute barred as the cause of action arose on 8 thAugust
             2013, when the Respondent served the Claimants with Notice of
             Termination of Contract.



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                   Since the Notice of Arbitration was served by the Claimants on 26 th
                   March, 2014, the following year, the action cannot be said to be statute
                   barred.

        4.         The Respondent is precluded from filing a preliminary objection to the
                   jurisdiction of the Tribunal, as the preliminary objection was filed 14
                   days after the Statement of Defence was filed, contrary to the Provision
                   of Article 24.4 of the RCICALRules.

        5.         The Tribunal has jurisdiction to entertain this action.
        6.         The preliminary objection accordingly fails.

 15.13 The parties continued with their dealings after the part payment of IPC No.S
       on 19 th October, 2010, genuinely seeking ways for the Contractor to
       remobilise to the site to complete the works, when the NDDC intervened on
       the site in March, 2013, and took over the works with the equipment of the
       Contractor still on the site.

 15.14 The Claimants instituted action against the NDDCfor its trespass.

 15.15 The Presidential Committee on Monitoring of Ecological Projects in the South
       East Zone visited the project site on 18 th March, 2013 confirming in its
       ensuing report that it had written to the NDDCto stay off the site, to no avail.

15.16 The Respondent then served the Claimants with a Notice of Termination of
      Contract dated 8 th August, 2013, giving rise to the present cause of action,
      pursuant to which the Claimants served the Respondent with a letter of
      demand dated 6th February, 2014. When the Respondent failed to respond
      positively to the Claimants' said Notice of Demand, the Clai1nants served the
      Respondent with the Notice of Arbitration dated 26 th March, 2014.

16.0 THE CLAIMANTS' CLAIMS.

16.1 The Claimants claim the following relief in their Amended Points of Claim
     dated 1st March, 2018:
             i.       A declaration that the Respondent is liable for breach of Contract in
                      Law.
             ii.      The sum of N18,341,744.65 (Eighteen Million, Three Hundred
                      and Forty One Thousand, Seven Hundred and Forty Four Naira
                      and Sixty Five Kobo) being balance of payment for IPC No. 5.



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              iii.    The sum of N12,163,067.88 (Twelve Million, One Hundred and
                      Sixty Three Thousand, Sixty Seven Naira and Eighty Eight Kobo)
                      being payment in respect of work done by the Claimants from the
                      date of Certification of IPC No. 5 to date of work stoppage at the site
                      that is from 12 th April, 2010 to 25 th August, 2010, named Interim
                      Payment Certificate (IPC) No. 6.

              iv.    Cost of repairs of work/ extra works already done by the Claimants
                     from June 2006 to August 2010 is N83,916,000.00 (Eighty Three
                     Million, Nine Hundred and Sixteen Thousand Naira).(See
                     Annexure 24) at pages 233 - 235.

              v.     The sum of N6,240,117.11(Six Million, Two Hundred and Forty
                     Thousand, One Hundred and Seventeen Naira a1.tdEleven Kobo)
                     being the total sum of interest charges at the rate of 5% (five
                     percent) on delayed payments for each IPC i.e. !PCs Nos. 1, 2, 3, 4, 5
                     up till May, 2016. (See Annexure 25) at pages 236 -240.

              v1. Interest charges on delayed payment on IPC No. 6 in the sum of
                  NZ,280,575.22    (Two Million, Two Hundred and Eighty
                  Thousand, Five Hundred and Seventy Five Naira and Twenty
                  Two Kobo). (See Annexure 27) at pages 241-243 and 248- 249.

              vii. Equipment idle time or loss of use due to incessant delays till date in
                   the sum of N245,980,000.00        (Two Hundred ~nd Forty Five
                   Million, Nine Hundred and Eighty Thousand Naira). (See
                   Annexure) 26 at pages 244 - 245.

              viii. Loss of profit in the sum of NSl,179,663. 75 (Fifty One Million, One
                    Hundred and Seventy Nine Thousand, Six Hundred and Sixty
                    Three Naira, Seventy Five Kobo). (See Annexure 28) at pages 246 -
                     247.

             ix.     Interest charges on extra work done at 5% interest rate in the sum of
                     N23,426,550.00     (Twenty Three Million, Four Hundred and
                     Twenty Six Thousand and Five Hundred and Fifty Naira). (See
                     Annexure 29} at pages 248 - 249.

             x.      The sum of NS0,000,000.00 (Fifty Million Naira) as General
                     Damages for breach of contract.


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              xi.    10% post Judgment Interest on the total sum of the Award till the
                     same is finally liquidated.

              xii.   Cost of the Arbitration.

17.0     THE RESPONDENT'SDEFENCE.

17.1     The Respondent denies any liability for breach of contract in its Amended
         Points of Defence dated 26 th March, 2018 and urges the Tribunal to dismiss
         the Claimants' claims as same is brought ma/a fide and is lacking in merit,
         frivolous, fortune seeking and an attempt to reap where they have not sown.

17.2     The Respondent did not file any Counterclaim.

18.0     THE HEARING.

18.1     Following the agreement of the parties and the Sole Arbitrator, the hearing
         took place on 10 th April, 2018 at the Regional Centre for International
         Commercial Arbitration, Lagos.
18.2     In addition to the Sole Arbitrator and the Registrar, Mr. 0. S. Oru, the
         following persons were present at the hearing:

         For the Claimants:

         Festus Akpoghalino Esq. -              Claimants' Counsel
         Engr. P.A. Chiejina                    2 nd Claimant and Claimants' Witness.

         For the Respondent:

         Hamza Shaibu          }
         Biodun Arijesuyo              Respondent's Counsel
         Linda Amego

        Anthony Afuye
        Audu Cornelius          }      Respondent's Witnesses

18.3 At the commencement of the hearing, the Respondent's Counsel informed the
     Tribunal of the Respondent's intention to file a Counterclaim before the end
     of the day.




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 18.4 The Tribunal noted that the Respondent has been asked persistently if it has
      any Counterclaim, even up till the day before the hearing and the Respondent
      has persistently maintained that it has no Counterclaim.

 18.5 The Claimants' Counsel objected to the application to file a Counterclaim on
      the day of the hearing, saying it is a ploy to delay the hearing of the case.

 18.6 After some discussions, the Respondent's Counsel informed the Sole
      Arbitrator that it is voluntarily withdrawing its Application to file a
      Counterclaim as proceeding with filing the Counterclaim will stall the hearing
      already scheduled for the day.

18. 7 There being no objection from the Claimants' Counsel, the oral application for
      leave to file a Counterclaim being withdrawn was ordered as prayed, paving
      the way for the hearing as scheduled.

18.8 The Claimants presented their case through their sole witness Engr. P.A.
     Chiejina, who adopted both his Witness Statements sworn on 5 th March, 2018
     and 3 rd April, 2018 respectively. Thereafter, the Claimants' witness was cross
     examined by counsel for the Respondent. (See Pages 1-28 of the Transcript of
     the hearing of 10 th April, 2018.)

18.9     The Claimants' witness was re-examined by Counsel to the Claimants. (See
         page 28 of the Transcript of the hearing of 10 th April, 2018).

18.10 The Respondent presented its case through two (2) witnesses. The first
      witness was Mr. Anthony Afuye, (RW 1). He adopted his Witness Statement
      sworn on 6 th September, 2017 and was thereafter cross examined by the
      Claimants' counsel. (See pages 28-51 of the transcript of the hearing.) The
      Respondent's counsel re-examined RW 1 after the cross examination. (See
      pages 51 -53 of the Transcript of the hearing.)

18.11 The Respondent's second witness, Mr. Audu Cornelius (RW 2) adopted his
      Witness Statement sworn on 6 th September, 2017, he was asked questions by
      the Respondent's counsel and thereafter cross-examined by the Claimant's
      counsel. (See pages 54-72 of the Transcript of the hearing.)




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 19.0   CLOSURE OF PROCEEDINGS.

 19.1   The proceeding was brought to a close with the adoptiou by the parties'
        counsel of their respective Closing Submissions on 1st November, 2018.

 20.0   ISSUES FOR DETERMINATION.

 20.1   Pursuant to the direction of the Tribunal, the Claimants and the Respondent
        filed their respective Issues for Determination in this proceeding.

 20.2   While the Claimants formulated two (2) Issues for Determination dated 10 th
        November, 2017, the Respondent formulated ten (10) Issues for
        Determination dated 27 th September, 2017.

20.3    The parties' Issues for Determination shall be reproduced herein as
        formulated by them for ease of reference. The Claimants formulated the
        following Issues for Determination in this case:

             "i.    Whether the Respondent is not liable for breach of contract in
                    this case; if the answer to Issue one (1) above is YES,then;
            ii.     Whether in the circumstances of this case, the Claimants are not
                    entitled to all the reliefs claimed thereof"

20.4    The Respondent formulated the following Issues for Determination      in this
        case:

            "i.    Whether or not there was unnecessary delay in payment of /PCs
                   to warrant or to entitle the Claimants for a Declaration of breach
                   of Contract?

            ii.    Whether or not the failure of the Claimants to insure the Project
                   in the name of the employer and the contractor amounts to a
                   breach of the Contract by the Claimants?

            iii.    Whether the Contract Agreement contemplated abandonment of
                   site for any reason whatsoever.

            iv.    Whether abandonment of site by the Claimants            does not
                   constitute a breach of the Contract Agreement.




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            v.    Whether the delay of the Claimants to complete the execution of
                  the Project outside the time fifty- two week duration, and the
                  periods of extension granted, does not amount to a breach of the
                  Contract on the part of the Claimants.

           vi.    Whether the raising of "/PC No. 6" followed due process to
                  warrant claims for interest on the alleged delayed payment for
                  same?

           vii. Whether or not the necessary agreement was reached for the
                execution of the alleged extra work to entitle the Claimants for
                claim for payment of same?

           viii. Whether or not it is lawful or proper in the eyes of the law to
                 order the Respondent who has no control of the Claimants'
                 equipment to pay for its idle time?

           ix.   Whether or not the claim for loss of profit is not baseless in view
                 of the nature of the contract?

           x.     Whether or not the Respondent can be reasont,·bly expected to
                  accept liability for the payment of interest on loan facility it was
                  not a party to and in view of the claims for technical and financial
                  capability to execute the contract by the Claimants while bidding
                 for the contract, the basis upon which the contract was awarded
                 to the Claimants.

21.0   SUMMARY OF THE CLAIMANTS' CONTENTION.

21.1   The parties' relationship in respect of the subject matter of this dispute
       started on 20 th April, 2006, with the execution of the Contract Agreement for
       the Construction of Gully Erosion Control Structures at Cmuako Ubirilem
       Orsu, Local Government Area of Imo State.

21.2   The Letter of Contract Award dated 7 th March, 2006, preceded the formal
       execution of the Contract.

21.3   Pursuant to the Bill of Engineering Measurement and Evaluation (BEME),
       also known as Bill of Quantities, the contract sum of N255,898,318.75
       (Two Hundred and Fifty Five Million, Eight Hundred and Ninety Eight



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            Thousand, Three Hundred and Eighteen Naira, Seventy Five Kobo) was
            awarded to the Claimants and the duration of the contract was 52 weeks
            (One Year).

 21.4       As agreed by the parties, the Claimants provided an Advance Payment
            Guarantee (APG) from Skye Bank PLC, pursuant to which the Respondent
            paid the Claimants 25% mobilisation in the sum of N.63,974,629.69 (Sixty
            Three Million, Nine Hundred and Seventy Four Thousand, Six Hundred
            and Twenty Nine Naira, Sixty Nine Kobo) on 23 rd May, 2006, which
            signified the effective date of the Contract.

 21.5       The Respondent appointed a Consultant, Jones-Tech International
            Limited to supervise the job. The Consultant was also responsible for the
            certification of the job done by the Contractor for payments.

21.6        The Respondent also appointed the Anambra-lmo River Basin and Rural
            Development Authority to also supervise and oversee the entire Contract
            as the Executing Agency along with the Consultant.

21.7        The Contractor mobilised to site and the work was going on quite well with
            the payment of Interim Payment Certificate (IPC) No. 1.

21.8    The Claimants state that for payment to be effected for work done, Interim
        Payment Certificates (IPCs) would be raised to the value of the work done
        and same will be assessed by the Consultant and the Anambra-Imo River
        Basin and Rural Development Authority (Executing Agency).

21.9    According to the Claimants, the earthworks and some concre.te works
        section of the Project for the control of erosion can only be executed during
        the dry season and not during the rains to avoid destruction of the works
        already done and certified for payment. The parties were aware of this.

21.10   Time was of the essence of this Contract pursuant to which the Contract
        provided for "minimal delay" in the payment for jobs executed and certified
        for payment by the Consultant and the Executing Agency vide the !PCs.

21.11 The Claimants allege that despite being aware that time was of the very
      essence of this Erosion Control Project, the Respondent failed and or
      neglected to act in that respect, by releasing moneys for the project
      promptly and timeously.


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21.12    According to the Claimants, IPC No. 1 was paid within 2 months of its
         submission to the Respondent. However, IPC No. 2 was raised and certified
         for payment in April, 2007 but was delayed till August 2007, which is a delay
         of four (4) months in a Contract that was meant for a period of twelve (12)
         months.

21.13    IPC No. 3 was raised and certified for payment in July 2007, but payment
         was effected on 27 th December, 2007, which is a period of six (6) months
         delay.

21.14    IPC No. 4 was raised in January 2008 and was paid after three (3) months
         delay.

21.15    IPC No. 5 was not paid in full after a delay of six (6) months.

21.16    IPC No. 6 remains unpaid since 2010 that it was submitted till date.

21.17    Summarising these delays at paragraph 28 of their Amended Points of Claim,
         the Claimants averred that:

               "In a contract or project meant to be completed Nithin one year
               duration, the delay in the release of funds per each certificate, /PC
              No. 2 was delayed for 4 months1 IPCNo. 3 was delayed for 6 months,
              IPC No. 4 was delayed for 3 months, part of IPC No. 5 was delayed
              for 6 months, the balance of /PC No. 5 and IPC No. 6 are still
              pending, unpaid till date".

        These cannot be said to be "minimal delay" in payments as agre.ed under
        the contract.

21.18   The Second Claimant, in a bid to complete the job within the contractual
        period mortgaged his residential house in Benin for a Bank facility of
        NS0,000,000.00 (Fifty Million Naira) in favour of the project of the
        Respondent, and is now indebted to the Bank due to the Respondent's delay
        in effecting payment to the extent that the Bank has been threatening to sell
        the mortgaged property, where he resides in, forcing him to commence legal
        action against the Bank, which matter is still pending in Court.

21.19   After effecting repairs on the deteriorated jobs carried out using the Bank
        facility to continue the project, the Claimants called on the Consultant to


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         raise IPC No. 6 for the sum of N12,163,067.85 (Twelve Million, One
         Hundred and Sixty Three Thousand, Sixty Seven Naira, Eight Five
         Kobo ), but the supervisor was no where to be found, consequent upon
         which the 2nd Claimant prepared IPC No. 6 and sent it to the supervisor for
         verification, but no word came from them.

21.20    The Respondent's failure to pay for the work done has resulted in heavy
         indebtedness to the Bank.

21.21   According to the Claimants, monies paid by the Respondent which were
        meant for jobs already completed were used to "repair" or reconstruct or
        repeat jobs already done which had collapsed due to heavy erosion from the
        rains. The repairs/repeated works have been recorded as extra works which
        payment the Respondent has failed to honour.

21.22 The Claimants allege that the contract was re-scoped due to the
      deterioration of the work done arising from serial delays in payment. It was
      decided that the remaining fund available on the project should be used to
      solve the erosion problem while application for additional funds will be
      made as phase two to complete the project to its original concept.

21.23   According to the Claimants, the re-scoped works was completed up to 90.8%
        completion, pursuant to which IPC No. 5 was raised and payment of IPC No.
        5 has not been paid in full till date.

21.24 The Claimants further allege that the experience, competence and expertise
      of the Consultant, Jones-Tech International Limited was questionable, and
      upon enquiry at the Council for the Regulation of Engineering in Nigeria
      (COREN), CORENreplied formally that neither Engineer Bassey Ekanem nor
      Jones-Tech International Limited (Consultant) are registered with COREN.
      The Claimants have exhibited the letters written by COREN to this effect at
      (pages 217-218 of the Claimants' bundle.)

21.25   The Claimants state that after writing series of letters and several meetings
        towards tlie amicable resolution of this dispute, the Respondent offered the
        Claimants the sum of N60,000,000.00 (Sixty Million Naira) in full and final
        settlement of all its indebtedness which arose as a result of the Respondent's
        breach of contract. The Respondent failed to pay the said sum of
        N60,000,000.00      (Sixty Million Naira) for over two years, with the 2nd



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        Claimant visiting the Ecological Fund Office repeatedly to no avail until the
        commencement of this Arbitration when they renewed the offer which the
        Claimants refused on account of the fact that the arbitration was already
        ongoing when the renewed offer of the Respondent was made. The
        Claimants replied the Respondent that the Arbitration proceedings should
        be allowed to run its course.

21.26 According to the Claimants, the contract had been executed up to 77.14% by
      30 th January, 2008 while 90.8% of the re-scoped work was completed by
      12 th April, 2010 before the rains came and destroyed the works.

21.27 The Claimants state that the Niger Delta Development Commission (NDDC)
      took over the site in March 2013 and began to execute the works whilst the
      Claimants' Contract was still subsisting, and all reports to the Respondent
      about this development was to no avail, compelling them to institute an
      action and obtain Court injunction restraining the NDDC from carrying on
      with the work, an Order which unfortunately the NDDCdid not obey as they
      remained on site and completed the works.

21.28 The Claimants allege that all through the period of the delays, all their
      equipment and staff remained on site as they could not be diverted to other
      use leading to heavy loss· on idle time, which have been itemised and
      calculated in (Annexure 26 and 26A at pages 244-245 of the Claimants'
      Bundle).

21.29 The Claimants further allege that the villagers who were the beneficiaries of
      the project got infuriated by the delay and vandalized most of their
      equipment, which is also a subject of litigation.

21.30 The Claimants allege that the profit margin for the contract was 25% and if
       there was no delay in payment, the Claimants would have made 25% profit
       from the job. The Claimants therefore claim lost profit in the sum of
       NSt,179,663.75    (Fifty One Million, One Hundred and Seventy Nine
       Thousand, Six Hundred and Sixty Three Naira, Seventy Five Kobo) as
       detailed in (Annexure 28 attached to the Amended Points of Claim at pages
     · 246-247 of the Claimants' Bundle.)

21.31 The delayed payments made the Claimants to incur huge losses on account
      of the project as follows:



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            i.     Loss of returns on equipment which were left idle.
                   (See the breakdown in Annexure 26.)

            ii.    Interest charges on delayed payment on Interim Payment No. 6.

            iii.   Interest on Mortgage secured with Claimant's residential home at
                   Benin City.

            iv.    Loss of good will.

            v.     Default interest charges of the Bank at 22%.

            vi.    Monies wasted on various litigations geared at saving the Contract
                   and equipment.

21.32   Psychological trauma from delays and threats from Skye Bank to sell the 2 nd
        Claimant's family house and the embarrassment by the Bank officials coming
        to inspect the property from time to time.

21.33   The Respondent served the Claimants; Notice of Termination of Contract
        dated 8 th August, 2013. The Claimants invoked the Arbitration Clause in the
        Contract by serving the Respondent with Notice of Arbitration dated 26 th
        March, 2014, in the face of continued threats from the Bank to sell off the 2 nd
        Claimants' property.

21.34   The totality of all the above complaint is ther·efore that the Claimants seek a
        declaration, amongst other relief that the Respondent is liable for breach of
        contract in Law.

22.0    SUMMARYOF THE RESPONDENT'SCONTENTION.

22.1    The Respondent denies any liability or breach of the Contract between the
        parties and states that as at May/June 2007, the 1st Claimant had been paid
        25% mobilisation fee in the sum of N63,974,629.69 (Sixty Three Million,
        Nine Hundred and Seventy Four Thousand, Six Hundred and Twenty
        Nine Naira, Sixty Nine Kobo) and IPC No. 1 in the sum of N35,482,818. 05
        (Thirty Five Million, Four Hundred and Eight Two Thousand, Eight
        Hundred and Eighteen Naira, Five Kobo), totaling over N98,000,000.00
        (Ninety Eight Million Naira) out of the total project cost of
        N255,898,318.75 (Two Hundred and Fifty Five Million, Eight Hundred
        and Ninety Eight Thousand, Three Hundred and Eighteen Naira,


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            Seventy Five Kobo) in less than a year of moving to site in 2006, IPC No. 1
            was paid on 28 th February, 2007.

 22.2       The Respondent states that the process of raising IPCs and paying for jobs
            done and the sums raised are as follows:

              a.   IPCs are raised to the extent of the value of the job done as assessed
                   by both the Consultant and the Executing Agency.

              b.   The Consultant forwards the IPC raised to the Executing Agency who
                   in turn forwards same to the procuring entity that is, the Ecological
                   Fund Office (EFO).

              c.   On receipt of the IPC, the EFO sends a team of in-house staff to verify
                   the claims submitted by the Consultant and the Executing Agency,
                   following which, if the claims are verified (vide site assessment
                   form) that the level of job recorded as done and raised in the IPC is a
                   true representation of the state of things on the site, approval for
                   payment is sought and obtained from the Chief Accounting Officer.
                   The approval for payment and the sum approved is then sent to the
                   Claimants, while the payment approval is sent to the Accounts
                   Department for processing of payment.

22.3    The Respondent denies that payment of IPC No. 2 was delayed at all.
        According to the Respondent, IPC No. 2 was received by the Ecological Fund
        Office (EFO) on 23 rd April, 2007 and paid on 23 rd August, 2007.

22.4    It is the Respondent's contention that the smooth flow of the execution of
        the contract was not dependent on the period within which the IPCs were
        processed in view of the Claimants' representation at the tender stage,
        (which was one of the factors that won the Claimants the contract) that it
        had the financial and technical capacity to execute the project. (See Annexure
        "2" at pages 99-115 of the Respondent's Bundle). (Instructions for Tendering).

22.5    The Respondent admits that erosion control works are best carried out
        during the dry season and that time is of the essence of such work. The
        Respondent states however, that if the quality of the work done is good, such
        works can stand the test of the rains. Therefore, if the quality of the work
        done by the Claimants is good, the rains will not destroy it.



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 22.6       The Respondent alleges that for a project that was expected to be completed
            by May 2007, the Claimants had only achieved 59.6% of the Project
            execution, and owing to the Claimants' inability to meet the completion
            deadline as agreed by the parties, the Claimants sought for various
            extensions of time for a cumulative period of 18 months which were
            granted.

22.7        The Respondent denies that IPC No. 4 was delayed, as it was received by the
            EFO on 20 th February, 2008 and paid on 7 th April, 2008, having been
            subjected to the verification process.

22.8        The Respondent states that IPC No. 5 took six (6) months to be paid, because
            it had several discrepancies which had to be resolved in collaboration with
            the Executing Agency and the Consultant, due to the fact that the IPC was
            based on the re-scoped Bill of Quantities.

22.9        Still stating the reasons why IPC No. 5 was particularly delayed for up to six
            (6) months, the Respondent states further that:

              i.     The contingency sum in the project which is usually not paid until
                     the project is fully executed was added to the IPC and had to be
                     deducted.

              ii.    The 2.5% of the contract being the administrative         charge as
                     stipulated in the Agreement had to be deducted.

              iii.   There is no balance of any money at all due to the Claimants on IPC
                     No. 5.

              iv.    The IPC was subjected to the same verification process as was the
                     case with the other IPCs before IPC No. 5.

22.10 The Respondent contends that payments were made promptly subject to the
      necessary verification processes and that the six (6) months delay period
      referred to by the Claimants was after the one year completion date set for
      the project, during which period, the 1st Claimant by its negligence failed to
      complete the project as agreed. More importantly, the Claimants abandoned
      the site of the project without any reasonable cause on several occasions and
      were even away from the site at a particular instance for ov~r one year.




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 22.11        The Respondent was satisfied with the level of competence of the Consultant
              it employed to oversee the project and it was the same Consultant who
              prepared and signed IPCs 1-5 in respect of which the Claimants were paid
              the total sum of N198,119,169.40      (One Hundred and Ninety Eight
              Million, One Hundred and Nineteen Thousand, One Hundred and Sixty
              Nine Naira, Forty Kobo) as of October 2010, and all corre,pondences from
              the Claimants, the Consultant and the Executing Agency concerning the
              Project were promptly attended to.

 22.12        The Respondent contends that the Claimants did not carry out any extra
              works as this would have been certified as such in the various IPCs.

 22.13        According to the Respondent, the proper process for identifying and
              executing "Extra Works" is for the Consultant and Contractor to identify and
              agree on the need for extra work The Consultant then notifies the Executing
              Agency, who in turn notifies the Ecological Fund Office (EFO) and the EFO on
              consideration of the position of the Consultant and the Fxecuting Agency
              will convey approval in writing.

          An agreement has to be reached between the Employer and the Contractor
          on the scope and cost of the Extra work done and approval conveyed to the
          Contractor to carry on with the "Extra works".

22.14     The Respondent agrees that several meetings were held between the
          Claimants and the Respondent through the EFO, however, the meetings
          were convened to address the slow pace of work and several abandonments
          of the site by the Claimants and not to address the issue of delayed
          payments.

22.15 . The Respondent agrees that the contract stipulates that payments should be
        made with "minimal delay" which it complied with resulting in the
        following pace of payment for a contract of N255,898,518.75          (Two
       Hundred and Fifty Five Million, Eight Hundred and Ninety Eight
       Thousand, Five Hundred and Eighteen Naira, Seventy Five Kobo) as
       follows:

               a.   25% Mobilisation in the sum of N63,974,629.69     (Sixty Three
                    Million, Nine Hundred and Seventy Four Thousand, Six Hundred
                    and Twenty Nine Naira, Sixty Nine Kobo) on 23 rd May, 2006 even


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                   before the Claimants moved to site, signifying the effective date of
                   the contract.

             b.    Total payment of almost N100 Million (N99,457,447.74) by the 9th
                   Month of the project (February 2007) by which time the Claimants
                   had only achieved 15% of project execution.

             c.   Total payment of N143,279,535.25        (One Hundred and Forty
                  Three Million, Two Hundred and Seventy Nine Thousand, Five
                  Hundred and Thirty Five Naira, Twenty Five Kobo) by the 14th
                  Month of the project (August 2007), 2 months after one year
                  completion period and at which time, the Claimants had only
                  achieved 48.1 o/oof the project execution and as of which time no
                  extension of time had been sought from the Re:-pondent or any
                  granted.

            d.    Total payment of N159,726,726.84 (One Hundred and Fifty Nine
                  Million, Seven Hundred and Twenty Six Thousand, Seven
                  Hundred and Twenty Six Naira, Eighty Four Kobo) by the 18th
                  month of the project (December 2007), 5 months after one year
                  completion period at which time the Claimants had only achieved
                  59.6% of the project execution and as of which time no extension of
                  time had been sought from the Respondent or any granted.

            e.    Total payment of N185,974,726.74 (One Hundred and Eighty Five
                  Million, Nine Hundred and Seventy Four Thousand, Seven
                  Hundred and Twenty Six Naira, Seventy Four Kobo) by the 23 rd
                  month of the project (April 2008), 11 months after the One year
                  completion period at which time the Claimants had only achieved
                  77.14% of the project execution.

            f.    Total payment of N198,168.74 (One Hundred and Ninety Eight
                  Thousand, One Hundred and Sixty Eight Naira, Seventy Four
                  Kobo) by the 53rd month of the project (October 2010), 41 months
                  after the one year completion period, at which time the Claimants
                  had only achieved 90.8% of the project execution.




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22.16   Still dealing with the issue of delayed IPC payments, the Respondent states
        that it indeed effected payments of the IPCs with minimal delays as
        contemplated by the contract as follows:

            a.   25% mobilisation was paid on 23 rd May, 2006.

            b.   IPC No. 1 (N35,482,818.05) was received by EFO on 15 th January
                 2007 and paid on 28 th February, 2007.

            c.   IPC No. 2 (N43,822,087.50) was received by EFO on 23 rd April, 2007
                 and paid on 23 rd August, 2007.

            d.   IPC No. 3 (N16,447,227.60) was received by EFO on 23 rd August,
                 2007 and paid on 27 th December, 2007.

            e.   IPC No. 4 (N26,247,999.90) was received            by EFO on 20 th
                 February,2008 and paid on 7 th April, 2008.

            f.   IPC No. 5 (N12,144,406.06) scaled down from (NJ0,486,151.17)
                 was received by EFOon 15 th April, 2010 and paid on 5 th October,
                 2010 (6 months).

22.17   The Respondent reiterates that IPC No. 5 was contentious and had lots of
        discrepancies and it took a longer time to process payment owing to the
        length of time it took the EFO to resolve the controversies with the
        Executing Agency.

22.18   It is the Respondent's contention that the Claimants' decision to take
        banking facility for the execution of the project with its attendant risks was a
        business decision taken by the Claimants, a decision which the Respondent
        cannot be held responsible for in any way, especially in the light of the
        Claimants' representation of financial capacity to undertake the execution of
        the project.

22.19   While stating that it has no record of the Consultant absconding as stated by
        the Claimants, the Respondent states categorically that there was no
        agreement between the parties for the Claimants to execute any "Extra
        works" and further that the contract did not contemplate an IPC being raised
        by the Contractor.




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22.20 According to the Respondent, none of the IPCs raised by the Consultant,
      countersigned by the Claimants and forwarded by the Executing Agency had
      any extra work recorded on it.

22.21       While admitting that the works were re-scoped, the Respondent however
            denies that the deterioration of the works already executed which
            necessitated the re-scoping of the works was as a result of delayed
            payments.

22.22    The Respondent admits that it offered the Claimants the sum of
         N60,000,000.00 (Sixty Million Naira) in full and final settlement of all the
         Claimants' claims. It however, denies that the offer was on the basis of its
         admission of liability for breach of contract. Rather, the offer of
         N60,000,000.00    (Sixty Million Naira) was made to the Claimants purely
         on compassionate grounds.

22.23    It is the Respondent's contention that it is the Claimants who breached the
         contract by their:

             i.      Abandonment of the site;

              ii.    Failure to insure the project as agreed in the contract;

              iii.   Suspension of the works; and

              iv.    Failure to complete the project within one year period as agreed in
                     the contract.

22.24    The Respondent denies that it caused the Claimants any loss of profit in
         relation to the contract and states further that the Claimants were
         adequately paid as stipulated in the Bill of Quantities for equipment and the
         Respondent cannot be held responsible for any loss on returns on
         equipment which was left idle as the alleged idleness of the equipment was
         entirely a decision of the Claimants.

22.25     With regards to interest on delayed payment in respect of IPC No. 6, the
          Respondent states that it cannot be responsible for delayed payment of an
        · IPC that was not raised by the Consultant and finally that it is not
          responsible for any trauma suffered and other risks allegedly suffered by the
          Claimants.



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23.0        SUMMARY OF THE CLAIMANTS' REPLY TO THE RESPONDENT'S
            CONTENTIONS.

23.1        Reacting to the Respondent's contentions, the Claimants assert that Clause
            2.0 of the contract gives the Consultant and the Executing Agency the
            authority to prepare IPCs. Furthermore, in determining the duration of the
            delay in effecting payment for each IPC, the relevant period to be considered
            is the date of the certification of the IPC by the Consultant and the date the
            money was received by the Claimants.

23.2    The Claimants contend that the contract does not provide for the deduction
        of 2.5% Administrative Charge from an IPC as alleged by the Respondent
        because a provision of N4,000,000.00 (Four Million Naira) had already
        been made for it in the Bill of Engineering Measurements and Evaluation
        (BEME). Also referred to as the Bill of Quantities, under the heading
        ''Allowance for Project Management by Employer and Executing Agency",
        which sum has already been claimed in full in IPC No. 5, therefore the
        unilateral introduction of 2.5% Administrative Charge is fraudulent and
        unacceptable.

23.3    The Claimants state that the balance of IPC No. 5 in the sum of
        N18,341,744.65     (Eighteen Million, Three Hundred and Forty One
        Thousand, Seven Hundred and Forty Four Naira, Sixty Five Kobo)
        remains unpaid till date.

        Furthermore, the certification of the Consultant and the Executing Agency is
        a representation that the standard of work agreed to in the contract has
        been complied with and the Respondent has no power to unilaterally alter
        same or pay a sum lesser than that certified by the Consultant and the
        Executing Agency, in view of the fact that the present contract, the subject
        matter of this dispute is the 5 th project the Claimants are undertaking with
        the Ecological Fund Office, the other four (4) projects having been
        successfully completed without any issues or problems.

23.4    With regards to the offer of N60,000,000.00      (Sixty Million Naira)
        compensation to the Claimants allegedly on compassionate grounds to
        assuage the pains of the Claimants, the Claimants state that the sum of
        N60,000,000.00 (Sixty Million Naira) was offered on the basis of an



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            admission of fault for delayed payments. Therefore, the current denial is an
            afterthought and deliberate falsehood.

 23.5       On the allegation of abandonment of site by the Claimants, the Claimants
            state that they did not abandon the site at any time because all the
            construction equipment remained on site and the Claimants' site office
            remained open all through the period. According to the Claimants, "work
            stopped due to non-payment but the Claimants remained on site and the
            Claimants informed the Respondent by several letters to make some
            payment so that work can resume. However 1 the Respondent has a habit
            of not replying letters sent to it no matter how serious and urgent the
            content may be."

 23.6        On the Respondent's allegation that there was no agreement for the
            Claimants to carry out "extra works; the Claimants contend that Minutes of
            Meetings relating to the "extra works" abound in the record. Furthermore,
            the issue of "extra works" was considered and agreed upon by all the
            stakeholders, which included all the relevant agencies overseeing the project
            and the present denial is an afterthought. The records of the extra works
            carried out were kept to be paid as work done at the end of the project and
            the "extra-works" done and claimed being works duly executed before work
            stopped.

23.7     On the 25% mobilisation fee referred to by the Respondent, the Claimants
         state that the said mobilisation fee of 25% in the sum of N63,974,629.69
         (Sixty Three Million, Nine Hundred and Seventy Four Thousand, Six
         Hundred and Twenty Nine Naira, Sixty Nine Kobo) given to the Claimants
         at the commencement of the contract was a loan, which the Claimants have
         been paying back. The Claimants state that as at IPC No. 5, the sum of
        N58,088,963.76      (Fifty Eight Million, Eighty Eight Thousand, Nine
         Hundred and Sixty Three Naira, Seventy Six Kobo) had been paid back to
        the Respondent as evidenced by IPC No. 5. Accordingly, the 25%
        mobilisation cannot be regarded as payment to the Contractor. Moreover, by
        the date of IPC No. 6, about 98.5% of the mobilisation sum had been paid
        back, with the Claimants achieving 90.8% project execution as confirmed by
        the Respondent.




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23.8     The Claimants reiterate that none of the IPCs was paid within one month of
         receipt by the Respondent and a 6 months delay in payment cannot be said
         to be "minimal delay" by any standard and the Respondent did not inform
         the Claimants or the Consultant of any discrepancy in any of the certificates
         since all the certificates are sent to the EFO through the Consultant or the
         Executing Agency.

23.9     According to the Claimants, the Consultant and the Executing Agency who
         are agents of the Respondent admitted delay in items 21 and 22 in the
         Project Assessment Form specifically as follows:

            IPC No. 1 had 2 months delay;
            IPC No. 2 had 4 months delay;
            IPC No. 3 had 6 months delay;
            IPC No. 4 had 3 months delay
        This means a total delay of 15 months in making payments by the Respondent
        for work done up to April 2008 for an erosion project of 12 months duration.
        This explains why the project could not be completed as scheduled.

23.10    While reiterating that IPC No. 5 took six months, making a total of 21 months
         delay, the Claimants state that the balance of the payment on IPC No 5
         remains outstanding.

        It is stated further that according to Clause 2.0 of the agreement, the date of
        the preparation of the Interim Payment Certificates (I PCs) by the Consultant
        is the date the certificates were signed and that is the date for the calculation
        of the period the payment starts to run and not the date the certificate was
        received by the Ecological Fund Office, and the agreement envisaged the
        computation of time from the date the agents of the Respondent appended
        their signatures on the IPC.

23.11   On the competence of the Consultant, the Claimants reiterate that the
        Council for the Regulation of Engineering in Nigeria (COREN) had disowned
        the Consultant Mr. Bassey Ekanem and his company, Jones-Tech
        International Limited to the effect that they are not registered to practice
        Engineering in Nigeria. This information was sent to the Respondent who




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        has done nothing about employing an unqualified Engineer to supervise the
        project.

23.12 The Claimants state that they sent several letters to the Respondent
      complaining of the Consultant's absence from the site to no avail.

23.13 On IPC No. 6, the Claimants state that the 2nd Claimant prepared IPC No. 6
      and sent it to the Respondent through its agencies the Ecological Funds
      office, the Executing Agency, herein the Anambra-lmo River Basin
      Development Authority, when the complaint that the Consultant who ought
      to sign it was nowhere to be found and all letters previously addressed in
      that regard were not replied. The Claimants state further that IPC No. 6
      represents the work done on the site from 26 th March, 2010 when IPC No. 5
      was certified to the date when work finally stopped on the site on 25th
      August, 2010, which is 5 months work in respect of which payment is still
      being awaited.

23.14 According to the Claimants, the bulk of the mortgage funds went into IPC No.
      6, which the Consultant was not around to sign. Work stopped when
      payment for works certified done were not forthcoming and the mortgage
      became exhausted.

23.15 The Respondent delayed all payments due to the Claimants including the
      payment of N60,000,000.00 (Sixty Million Naira) offered to the Claimants
      as compensation for the losses suffered by the Claimants as a result of the
         •
      Respondent's delayed payments.

23.16 The intrusion of NDDC on the site was reported to the Responde.nt to no
      avail.

23.17 On the allegation of abandonment of site, the Claimants state that they did
      not abandon the site as their equipment were still on site which is why the
      Respondent could not terminate the Contract. The Claimants further state
      that their construction equipment and building materials parked at the site
      included the following:

             i.    15 ton Avelling Roller                            1 number.

             ii.   Reversing Drum Concrete Mixer                     1"




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            iii.   Mercedes Benz Tipper Lorry 1213 type   ----------   1"

            iv.    Caterpillar 966 pay loader             ----------   1   II




            v.     0 & K Motor grader                     ----------   111

            vi.    1.5 ton roller                         ----------   111

            vii. Atlascopco compressor                    ----------   1   If




            viii. Tilting Drum Concrete Mixer             ----------   111

            ix.    Caterpillar D8 bulldozer               ----------   1   II




            x.     1 ton roller                           ----------   1".

            xi.    Pieces of metal formwork               ----------   200 numbers.

            xii. 1.5 ton Volkswagen pickup truck          ----------   1 number

            xiii. BRCmesh 50 rolls.

            xiv. 10 tons of Iron rod.

            xv.    Granite clippings 30 tons.

                   Including 2 security men.

23.18 The Claimants state further that work had to stop when the funding from the
      Bank was exhausted. The Respondent was in breach of its obligations under
      the Contract to ensure the satisfactory execution of the Contract, as
      contained in Clause 19.0 of the Contract, particularly the obligation to issue
      appropriate certificate and to pay the Contractor sums due to it with
      minimal delay.

23.19 With regard to insurance, the Claimants state that the duty to insure under
      the Standard Conditions of Contract was for both parties, such that where
      one of the parties fails to insure the project, the other had an obligation to
      carry out the insurance. Furthermore, the Respondent did not make
      financial provision for insurance in the Bill of Engineering Measurement and
      Evaluation (BEME), an omission that was discovered by the parties lately,
      which means that if the Claimants (Contractor) diverts any of the funds for




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        the project into insurance, the Contractor will not be able to re~laim the
        premium paid for the insurance cover.

        Furthermore, the contract provides that the Respondent should insure,
        where the Claimants fails to do so and pay the premium as may be necessary
        for that purpose and from time to time deduct the amount so paid by the
        Employer on the insurance from any money due or which may become due
        to the Contractor or recover the same as a debt due from the Contractor. The
        Claimants submit that there is no corresponding protection on how the
        Claimants can recover this head of expenditure. Accordingly, the Respondent
        was in a better position to insure the project.

23.20   Finally, on insurance, there is no liability under the contract for failure to
        insure the project, and the Respondent did not insist on insurance at all. The
        instant allegation that the Claimants failed to insure the project is therefore
        an afterthought aimed at avoiding liability for breach of contract.

23.21   The Claimants state that the work had reached 90% completion, with all the
        Claimants' equipment and 2 security staff on site when the NDDC took over
        the site. Whereas, the Respondent had persistently. directed the Claimants
        on several occasions to go back to site with promises of payment, therefore,
        the Claimants never abandoned the site.

        It is therefore clear that the Claimants' equipment which were rented
        and/or hired for the job lay idle on site, while the Claimants waited for
        payment with rental costs mounting on a daily basis.

23.22   Finally, the Claimants contend that all the liabilities, woes and problems
        encountered by the Claimants in respect of this particular project was
        caused by the Respondent's failure to keep to its obligation to effect
        payments with minimal delay for work done and the Respondent's failure to
        call the Consultant to order, when the Consultant abandoned the site, even
        when several complaints were made to the Respondent about the
        Consultant.

24.0    ARGUMENTON ISSUESFOR DETERMINATION.

24.1    The Claimants formulated two issues for determination as follows:




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              i.     Whether the Respondent is not liable for breach of contract in
                     this case, if the answer to issue one above is YES,then;
              ii.    Whether in the circumstances of this case, the Claimants are not
                     entitled to all the reliefs claimed thereof
24.2   The Respondent formulated 10 issues for determination as follows:

              "i.    Whether or not there was unnecessary delay in payment of !PCs
                     to warrant or to entitle the Claimants for a Declaration of breach
                     of Contract?
              ii.    Whether or not the failure of the Claimants to insure the Project
                     in the name of the employer and the contract"r amount to a
                     breach of the Contract by the Claimants?

              iii.    Whether the Contract Agreement contemplated abandonment of
                     site for any reason whatsoever.

              iv.    Whether abandonment of site by the Claimant does not constitute
                     a breach of the ContractAgreement

              v.     Whether the delay of the Claimant to complete the execution of
                     the Project outside the time fifty- two week duration, and the
                     periods of extension granted, does not amount to a breach of the
                     Contract on the part of the Claimant

             vi.     Whether the raising of "!PC No. 6" followed due process to
                     warrant claims for interest on the alleged delayed payment for
                     same?

             vii. Whether or not the necessary agreement was reached for the
                  execution of the alleged extra work to entitle the Claimant for
                  claim for payment of same?

             viii. Whether or not it is lawful or proper in the eyes of the law to
                   order the Respondent who has no control of the Claimant's
                   equipment to pay for its idle time?

             ix.     Whether or not the claim for loss of profit is not baseless in view
                     of the nature of the contract?



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              x.    Whether or not the Respondent can be reasonably expected to
                   accept liability for the payment of interest on loan facility it was
                   not a party to and in view of the claims for technical and financial
                   capability to execute the contract by the Claimant while bidding
                   for the contract, the basis upon which the contract was awarded
                   to the Claimants."

24.3        The Respondent states at paragraph 0.3, page 2 of its Closing Submission
            dated 6th June, 2018 as follows that:

                   "All the issues for determination submitted by the
                   Respondent can be summed up into one, which is: whether
                   there has been breach of the Contract Agreement and by
                   whom, as a basis upon which the Tribunal should
                   determine entitlement to any of the reliefs sought".

24.4    In the light of the above, the Respondent has narrowed down its issues for
        determination which largely conforms with the Claimants' issues for
        determination.

24.5    In view of the allegations and counter allegations of breach of contract by
        the Claimants and the Respondent, it is clear that the main issue to be
        determined in this case is whether there has been a breach of the contract
        between the parties. If this question is answered in the affirmative, the
        Tribunal shall then proceed to examine the relief sought vis-a-vis the facts
        and evidence placed before the Arbitral Tribunal.

24.6    ISSUE1.

        Whether there has been a breach of the contract between the parties?

24.7    (A)THE CLAIMANTS'POSITION.

              i.   By the agreement of the parties, the Claimants were awarded
                   contract for the construction of the gully erosion control structures
                   at Umuako Ubirilem in Orsu Local Government Area of Imo State for
                   a contract sum of N255,898,318.75 (Two Hundred and Fifty Five
                   Million, Eight Hundred and Ninety Eight Thousand, Three
                   Hundred and Eighteen Naira, Seventy Five Kobo).




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                    The breakdown of which is as follows:

                   1.   Preliminaries                                              N27,250,000.00

                   2.   Road Works                                                 N62,957,500.00

                   3.   Culvert and Drains......................................   N113,750,000.00

                   4.   Flood Control                                              N27,350,000.00

                   5.   Biological Stabilisation................................   N800,000.00

                   6.   Allowance for 5% Contingency.................              Nll,605,375.00

                   7.   Sub Total                                                  N243,712,875.00

                   8.   Allowance 5% Vat .................................... ..   NlZ,185,643.75

                   9.   Grand Total                                                N'.!55,898,518.75


            ii.    As indicated above, the duration of the contract was for 52 weeks
                   (one year) commencing from 23 rd May, 2006 being the date the
                   Claimants received an Advance Payment (Mobilisation) in the sum of
                   N63,974,629.69 (Sixty Three Million, Nine Hundred and Seventy
                   Four Thpusand, Six Hundred and Twenty Nine Naira, Sixty Nine
                   Kobo) from the Respondent.

            iii.   The Respondent appointed the Consultant Jones-Tech International
                   Limited to supervise the job. The Consultant would also certify the
                   Interim Payment Certificates (!PCs) for payment.

            iv.    The Respondent also appointed the Anambra-Imo River Basin
                   Authority to also supervise and oversee the contract as the Executing
                   Agency.

            v. ·   For payment to be effected, Interim Payment Certificates (!PCs)
                   would be raised to the value of the work done and same will be
                   assessed and certified by the Consultant and Executing Agency.

            vi.    The contract stipulates that payment will be effected with "minimal
                   delay" upon certification of the IPC by the Cor.sultant and the
                   Executing Agency.


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   vii. The Respondent acting through the Ecological Fund Office (EFO)
        took unduly long to effect payment of the IPCs contrary to the
        Agreement of the parties.

   viii. In a contract for a project meant to be completed within one year,
         there was undue delay in effecting payment as follows:

          a)   IPC No. 1 was delayed for 2 months before payment.

          b)   IPC No. 2 was delayed for 4 months before payment.

          c)   IPC No. 3 was delayed for 6 months before payment.

          d)   IPC No. 4 was delayed for 3 months before payment.

          e)   IPC No. 5 was delayed for 6 months and the payment was
               unilaterally reduced by the Respondent without any recourse to
               the Claimants or the Consultant and/ or the Executing Agency.

          f)    IPC No. 6 which was submitted since 2010 has not been paid
                till date.

   ix.   The undue delay in effecting payment of IPCs certified by the
         Consultant and the Executing Agency created problems for the
         contract because oflack of funds to carry out the project works.

   x.    The Respondent therefore       breached   the contract   between   the
         parties as follows:

         a)    Failure to effect payment of certified IPCs with minimal delay as
               agreed by the parties.

         b)    The unilateral reduction of IPC No. 5 without recourse to the
               Claimants.

         c)    The deduction of 2.5% Administrative Charge is a breach of
               contract because this has already been provided for in the Bill
               of Quantities.

  xi.    The Claimants have suffered loss as a result of the Respondent's
         breach and the Claimants are entitled to damages as claimed.
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24.8   (B) THE RESPONDENT'SPOSITION.

            (i)    The Respondent denies the allegation of breach of contract and
                   states that payments certified by the Consultant and the Executing
                   Agency were effected with minimal delay as agreed in the contract,
                   between one and half months to six months.

            (ii)   (a) Mobilisation in the sum ofN63,974,629.69 was paid on 23 rd May,
                   2006.

                   (b)    IPC No. 1 (N35,482,818.05) was received by the EFO on 15 th
                          January, 2007 and paid on 28 th February, 2007.

                   (c)    IPC No. 2 (N43,822,087.50) was received by the EFO on 23 rd
                          April, 2007 and paid on 23 rd August, 2007.

                   (d)    IPC No. 3 (N16,447,227.60) was received by the EFO on
                          23 rd August, 2007 and paid on 27 th December, 2007.

                   (e)    IPC No. 4 (N26,247,999.90) was received by the EFO on 20th
                          February, 2008 and paid on 7 thApril, 2008.

                   (f)   IPC No. 5 (Nl2,144,406.00) scaled down from N30,486,151.17
                         was received by EFO on 15 th April, 2010 and paid on 5 th
                         October, 2010. (This IPC was contentious and had lots of
                         discrepancies and it took a longer time to process the payment
                         owing to the length of time it took the EFO to resolve the
                         discrepancies with the Executing Agency).

            (iii) The Claimants breached the contract as follows:

                   (a)   The Claimants abandoned site. There is no provision       for
                         abandonment of site in the contract.

                   (b)   The Claimants suspended work.

                   (c)   The Claimants failed to insure the project and;

                   ( d) The Claimants failed to complete the project within one year
                        period as agreed in the contract.




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24.9   (C) THE TRIBUNAL'SDECISION.

            (i)    From the submissions of the parties in their pleadings, Witness
                   Statements of their witnesses and the Closing Submissions of
                   Counsel to the parties, there is no doubt that the crux of this dispute
                   lies on the issue whether the Respondent effected payments of
                   certified IPCs with minimal delay as provided in the parties' contract.

            (ii) It is an elementary principle of law that parties are bound by their
                 contract. This principle is reflected in the Latin Maxim "Pacta Sunt
                 Servanda", a principle of law honoured by all civilised nations of
                 world. Accordingly, in resolving the issue whether there is breach of
                 the contract entered into by the parties on 20 th April, 2006, the
                 Tribunal shall attempt to interpret the relevant clauses of the
                 contract and where the clauses are simple, clear and unambiguous,
                 the Tribunal shall employ the literal cannon of interpretation in·
                 construing the terms of the contract.

            (iii) In the face of allegations and counter-allegations of breach of
                  contract by the parties, the Tribunal shall deal with the Claimants'
                  allegations first and thereafter deal with the . Respondent's
                  allegations of breach of contract by the Claimants.

24.10 (D) DELAYEDPAYMENT.

            (i)    Clause 19.1 of the Contract under Employer's Obligation provides
                   that:

                        "In consideration of the satisfactory execution of the works
                        by the Contractor, the Employer covenants to issue the
                        appropriate certificate and to pay the Contractor any sums
                        due to it with minimal delay."

            (ii)   The Claimants aver at paragraph 28 of their Points of Claim that:

                        "In a contract or project meant to be completer/ within one
                       year duration, the delay in the release of funds per each
                       certificate, !PC No. 2 was delayed for 4 months, !PC No. 3
                       was delayed for 6 months, !PC No. 4 was delayed for 3
                       months, part of !PC No. 5 was delayed for 6 months, the


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                          balance of /PC No. 5 and /PC No. 6, is still unpaid till date.
                          These cannot be said to be minimal delay in payment as
                          agreed under the contract." (See paragraph 19.0 of the
                          Contract Agreement).

            (iii) The Respondent    denies the averments in paragraph 28 of the
                 Claimants' Points of Claim and avers at paragraph 24 of its Points of
                 Defence that it made payment with minimal delays as contemplated
                 by the Agreement. In further reaction to paragraph 28, the
                 Respondent states as follows that:

                    (a)     25% Mobilisation was paid on 23 rd May, 2006.

                    (b) IPC No. 1 (N35,482,818.05) was received by EFO on 15 th
                        January, 2007 and paid on 28 th February, 2007.

                    (c)     IPC No. 2 (N43,822,087.50) was received by EFO on 23 rd
                            April, 2007and paid on 23 rdAugust, 2007.

                    (d) IPC No. 3 (N16,447,227.60) was received by EFO on
                        23rdAugust, 2007 and paid on 27 th December, 2007.

                    (e)     IPC No. 4 (N26,247,999.90) was received by EFO on 20 th
                            February, 2008 and paid on 7 th April, 2008.

                    (f)    IPC No. 5 (N12,144,406.00) scaled down from (N30,486,151.17)
                           was received by EFO on 15 th April, 2010 and paid on 5th
                           October, 2010 (6 months). This IPC was contentious and had
                           lots of discrepancies and it took a longer time to process
                           payment owing to the length of time it took the EFO to
                           resolve the controversies with the Executing Agency.

            (iv) In Reply to paragraph 24 of the Points of Defence, the Claimants aver
                 at paragraph 21 of their Reply to the Points of Defence that:

                      "All the delays in payment of /PCsfrom No. 1 - No. 4 amounted to
                      15 months delay in the following breakdown as at April, 2008:

                      IPC No. 1 had 2 months delay;
                      IPC No. 2 had 4 months delay;
                      IPC No. 3 had 6 months delay;


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                       IPC No. 4 had 3 months delay.

                    This means that there had been a total of 15 months delay in
                    making payments by the Respondent for work done up till April,
                    2008, for a project of erosion control that is supposed to last for
                    12 months. This is the reason why the project could not be
                    completed on schedule.

            (v)   The Claimants further aver at paragraph 22 of their Reply to the
                  Respondent's Points of Defence that as at October, 2010, it took the
                  Respondent 6 months to pay part of IPC No. 5 that is making a total
                  of 21 months delay in making payment by the Respondent. The
                  balance of IPC No. 5 is still unpaid till date.

            (vi) The Claimants state at paragraph 23 of their Reply to the Points of
                 Defence that according to the Contract Agreement, the date of the
                 preparation of the Interim Payment Certificates (I PCs) by the
                 Consultant is the date the certificates were signed and that is the
                 date the calculation of the period of payment starts to run and not
                 the date the certificate was received by the Ecological Fund Office.

            (vii) The Claimants aver at paragraph 24 of their Reply to the Points of
                  Defence that all the periods of delay mentioned in paragraph 24 of
                  the Points of Defence, refer to the days they were received from the
                  Consultant and the Executing Agency which has nothing to do with
                  the Claimants. The Agreement envisaged the computation from the
                  date on the Interim Payment Certificates.

            (viii) The Claimants further aver at paragraph 44 of their Reply to the
                   Points of Defence that the Respondent was in breach of its
                   obligations under the contract, to ensure satisfactory execution of
                   the works by the Contractor contained in paragraph 19.0 of the
                   Contract Agreement that is;

                    (1) To issue appropriate certificate and pay to the
                        Contractor the sums due to it with minimal delay.

            (ix) The Claimants finally aver at paragraph 55 of their Reply to the
                 Points of Defence that all the liabilities, woes and problems
                 encountered by the Claimants in the project was caused by the


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      Respondent in fan·
      work done.       ing to maintain minimal delay in payments for

(x)    Apart from Clause 19                                                        .
          -11 .                 .O of the Contract other relevant Clauses which
       w1 assist the Trib           .                 '
       th R                   una 1 m the determination of the issue of whether
                     nd
        time teskpo ent breached the Contract vis-a-vis the duration of the
            e a en to effect                .      ..
        2 10(')  (")    ...     payment   of  certified IPCs include: Clauses 1.0, 1.2,
          · d ~ '\' (m)     0nd (v), 11.0, 20.0 of the Contract and Clauses 60(1)
         an     8 o the Standard Conditions of Contract.

  (xi) The above Clauses of the Contract and Standard Conditions of
         Contract are reproduced below:

             (a)    Clause 1.0

                     The object of this Agreement is to provide for the terms and
                     conditions under which the Contractor shall construct the
                      Gully Erosion Control Structures at Umuako Ubirilem, Orsu
                      Local Government of Imo State.

               (b) Clause 1.2
                          The Contractor covenants to meet all financial and other
                          obligations due to the Consultants, as specified in Bill No. 1 in
                          the Bill of Quantities, without delay or default Payments for
                           the design and supervision fees respectively shall be made by
                           the Employer.

                   ( c)    Clause 2 ,o(ii)
                           Payments to the Contractor shall be against a certificate
                           issued under the hand of the Consultants containing a full-
                           itemized statement of the estimated value of the works
                            executed.

                     ( d) Clause 2.0Hiil
                             The Employer shall advance the sum of N63,974,629.69 (Six~
                                       ·11· Nine Hundred and Seventy Four Thousand, S1x
                             Three M I wn,                    .    .     .
                                             Twenty  Nine Nmra,   S1xty Nme  KoboJ only
                             Hundre d an d
                                         . ZS%0 of the contract sum to the Contractor ...
                              representing


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                      Further payments shall be made after attainment of 25% of the
                      project and upon certification by the Project Consultants as
                      aforesaid of subsequent stages reached in respect of the
                      project.

                ( e) Clause 2.0(v)

                      All subsequent payments shall be made on certification by the
                      Consultants to the Project certifying the works done and
                      recommending the payment for such works in accordance with
                      the conditions provided in the Schedule attached to this
                      Agreement.

                (f)   Clause 8.0

                      The Contract sum contained in this Agreement shall be a fixed
                      lump sum, which may only be mutually varied as provided
                      under this Agreement.

                (g)   Clause 11.0

                      The Contractor hereby agrees to complete the execution of the
                      works within 52 (fifty-two) weeks with effect from the date of
                      the receipt of the advance payment mentioned in Article 2(iii)
                      above.

                (h) Clause 20.0

                      CONTRACTOR'SOBLIGATION.

                      In consideration of the payments to be made by the Employer
                      to the Contractor herein before mentioned, the Contractor
                      covenants with the Federal Government of Nigeria to execute,
                      complete and test the works in conformity with the industry
                      standards and the provisions of this contract.




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                      STANDARD CONDITIONSOF CONTRACT.

                      (a)   Clause 60(1)

                      CERTIFICATESAND PAYMENT.

                      The Contractor shall submit to the Engineer after the end of
                      each month a statement showing the estimated contract value
                      of the permanent work executed up to the end of the moth (if
                      such value shall justify the issue of an interim certificate) and
                      the Contractor will be paid monthly on the certificate of the
                      Engineer the amount due to him on account of the estimated
                      contract value of the permanent works executed up to the end
                      of the previous month together with such amount (if any) as
                      the Engineer may consider proper on account of materials for
                      permanent work delivered by the Contractor on site and in
                      addition, such amount as the Engineer may consider fair and
                      reasonable for any temporary works or construction plant for
                      which separate amounts are provided in the Bill of Quantities
                      subject to a retention of the percentage named in the Tender
                      until the amount retained shall reach the "limit of retention
                      money" named in the Tender (thereafter called "The Retention
                      Money'] provided always that no interim certificate shall be
                      issued for a less sum than that named in the tender at one time.

                      (b) Clause 68(1)(a)

                      DEFAULTBY EMPLOYER.

                     In the event of the Employer:-

                      (i)   Failing to pay to the Contractor the amount due under
                            any Certificate of the Engineer within 60 days after
                            same shall have become due under the terms of the
                            contract, the Contractor shall be entitled without
                            prejudice to any other rights or remedies to determine
                            the employment of the Contractor under the contract by
                            giving notice in writing to the Employer.




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           (xii) A reading together of all the Clauses reproduced in the preceding
                 paragraphs is indicative of the fact that time was clearly of the
                 essence of the contract and given the fact that the duration of the
                 entire contract is one year, the Respondent, acting through its
                 agencies ought to have realized that payment was indeed to have
                 been effected with "MINIMALDELAY".

           (xiii) It is pertinent at this stage to attempt a definition of the phrase or
                  words "MINIMALDELAY"within the context of the Employer's
                  payment obligation to the Contractor for !PCs certified by the
                  Consultant and the Executing Agency.

           (xiv) MEANINGOF "MINIMALDELAY".

                   (a) The Longman Active Study Dictionary, 7 th Edition 2000,
                       at page 420 defines "minimal" as "extremely small in
                       amount or degree and therefore not worth worrying about,
                       e.g. the storm caused only minimal damage.

                  (b) The Macmillan Dictionary defines "Minimal" as 'of the least
                      possible', 'minimum' or "smallest".

                  (c) "Minimal" means as small as possible, slightly, fairly, partly
                      or very small or slight.

                  (d) '!Minimal" means "little or nothing", extremely small".

                  (e) "Minimal Delay" means extremely           small in amount or
                      degree, or as small as possible."e.g,

                          "Ifthere is any delay, that delay will be minimal."

                 (f)   Collins English Dictionary 2014 defines "Minimal" as the
                       least possible e.g. minimum wage, the need to enforce
                       minimum standards.

                       Adjectives   -   Minimum, smallest, least, slightest, token,
                                        nominal, negligible, least possible.




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                     (g) Legal Dictionary defines "Minimal" as brief, diminished,
                         inappreciable, least, lesser, little, meager, minimum, minor,
                         paltry, modest, smallest, unimportant.

            (xv) Given the various definitions of "Minimal" and "Minimal Delay"
                 above, I have come to the conclusion that the intention of the parties
                 when they agreed in Clause 19.0 of the contract that in consideration
                 of the satisfactory execution of the works by the Contractor, the
                 Employer covenants to issue the appropriate certificate and to pay
                 the Contractor any sums due to it with "Minimal delay", was that
                 "the Interim Payment Certificates issued by the Consultant and the
                 Executing Agency will be paid by the Employer with the least
                 possible", "nominal", "negligible", "smallest" delay.

           (xvi)    While Clause 60(1) of the Standard Conditions of Contract in
                     respect of certificates and payment provide that the Contractor
                    will be paid monthly on the certificate of the Engineer the amount
                    due to him on account of the estimated contract value of the
                    permanent work executed up to the end of the previous month,
                    Clause 68(1) of the Standard Conditions of Contract provide for a
                    maximum duration of 60 days for payment       to  the Contractor of
                    the amount due to him under any certificate of the Engineer, after
                    the same shall have become due under the terms of the contract.

           (xvii)    It is my humble view that the "minimal delay" provision in Clause
                    19.0 of the contract executed by the parties on 20th April, 2006
                    takes precedence over the one month period provided for
                    payment to the Contractor and the 60 days maximum period
                    provided for payment to the Contractor respectively under Clauses
                    60(1) and 68(1) of the Standard Conditions of Contract by virtue of
                    the hierarchy of the contractual documents forming part of this
                    contract as categorized in Clause 4.0 of the Agreement.

           (xviii) The above being the case, the period of delay for payment of IPCs
                   certified by the Consultant and the Executing Agency, being
                   governed by the "minimal delay" provision in Clause 19.0 of the
                   Agreement, then the agreed period of delay of payment of certified
                   !PCs, cannot be the one month and 60 days period respectively


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                       under Clauses 60(1) and 68(1) of the Standard Condicions of
                       Contract. Therefore the period of delay for payment of IPCs
                       certified by the Consultant and Executing Agency, is minimal,
                       that is, extremely small, negligible and not worth worrying
                       about as envisaged by the parties in Clause 19.0 of the
                       contract.

              (xix)    This is much more so when the works can only be performed
                       during the dry season and the duration of the contract as agreed
                       by the parties is 52 weeks.

                      Most importantly, the parties are ad idem in their submissions
                      that the flood control works, the subject matter of this dispute can
                      only be performed during the dry season.

              (xx)    By the agreement of the parties, payment to the Contractor shall
                      be against a certificate issued under the hand of the Consultants
                      containing a full-itemised statement of the estimated value of the
                      works executed. (Clause 2.0).

             (xxi)    I have examined IPCs Nos. 1-5 and I find that they reflect full-
                      itemised statement of the estimated value of the works executed
                      with the certification and recommendation of the Consultant and
                      the Executing Agency as follows:

                      (a)   IPC No. 1, for example is dated 28/11/06 with the signatures
                            of the Consultant and the Executing Agency reflected
                            thereon, with the following certification:

                              "Ihereby certify that the sum of N35,482,818.05k is
                              now due for payment to the Contractor for works
                              executed in respect of the above contract".
                      (b)   It is my observation that IPC No. 1, was executed by the
                            Consultant on 28/11/06, the Engineer's representative on
                            20/12/06, and the Head of Department of the Executing
                            Agency on 22/12/06.




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                     (c)   The letter of the Executing Agency, the Anambra-Imo River
                           Basin & Rural Development Authority, forwarding IPC No. 1
                           to the EFO is dated 15th December, 2006.

                     (d)   The EFO acknowledged receipt of IPC No. 1 on 15 th January,
                           2007.

                    ( e) It is also observed that the execution of IPC No. 1 between the
                         Consultant and the Executing Agency took almost one month.

                    (f)    It took another three weeks, give and take for IPC No. 1 to be
                           forwarded by the Consultant to the EFO.

                    (g)    It then took another one month exactly for IPC No. 1 to travel
                           from the Consultants to the EFO. That is 15 th December, 2006
                           - 15 th January, 2007. (See Annexure 13) at pages 188-190 of
                           the Amended Points of Claim.

                    (h)    IPC No. 2 is dated 29/3/07. It took a period of about 3 weeks
                           between 29 /3/07 - 18/4/07 for the Consultants to forward
                           the IPC No. 2 to the EFO. (See Annexure 14)at pages 191-192
                           of the Amended Points of Claim.

                    (i)    IPC No. 3 is dated 26/6/07. It took a period of about 8 days
                           for IPC No.3 to be sent to the EFO. It is not certain when IPC
                           No. 3 was received by the EFO as there is no proof of receipt
                           in the record.

                    (j)    IPC No.4 dated 10/01/08 was executed by the Consultants
                           between 10/01/08 - 30/01/08. It was forwarded to the EFO
                           on 15/01/08. It took about 5 days to be executed by the
                           Consultants. No proof of the date of receipt by EFO.

                    (k) IPC No. 5 dated 26/03/10 executed by the Consultants
                        between 23/03/10 and 06/04/10, execution took about 11
                        days to be sent to EFO. No proof of when it was received by
                        the EFO.

           (xxii)   By the Respondent's own admission         at paragraph 24 of its
                    Amended Points of Defence:



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                      (a)    IPC No. 1 was received by the EFO on 15/1/07       and paid on
                             28/02/07, a delay period of almost 2 month~.

                      (b)    IPC No. 2 was received by the EFO on 23/4/07       and paid on
                             23/8/07 - a delay period of 4 months.

                      (c)    IPC No. 3 was received by the EFO on 23/8/07       and paid on
                             27 /12/07 - a delay period of 4 months.

                      (d)   IPC No. 4 was received by the EFO on 20/2/08        and paid on
                            7/4/08 - a delay period of 2 months.

                      (e) IPC No. 5 was received by the EFO on 15/4/10 and paid on
                           5/10/10 - a delay period of 6 months. Even at that, IPC No. 5
                          was duly approved for payment by the Consultants for
                          N30,486,151.17      (Thirty Million, Four Hundred and
                          Eighty Six Thousand, One Hundred and Fifty One Naira,
                          Seventeen      Kobo) was unilaterally         cut down to
                          N12,144,406.52 (Twelve Million, One Hundred and Forty
                          Four Thousand, Four Hundred and Six Naira, Fifty Two
                          Kobo) without any recourse whatsoever to the Claimants on
                          the basis or reason for the reduction of the amount approved
                          by the Consultants for payment.

              (xxiii) According to the Claimants, the time for calculating the period of
                      the delay in effecting payment of an IPC is the date of the
                      certification by the Consultants and not the date of the receipt of
                      the IPC by the EFO. The Claimants therefore state at paragraph 21
                      of their Amended Reply to the Respondent's Points of Defence
                      that:

                            /PC No. 1 had 2 months delay;

                            /PC No. 2 had 4 months delay;

                            /PC No. 3 had 6 months delay;

                            /PC No. 4 had 3 months delay; and

                            /PC No. 5 had 6 months delay for the payment of the reduced
                            amount and the balance still remains unpaid till date.


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               (xxiv) Given the definition of the phrase "Minimal Delay" as defined in
                      this Award, the above periods of delay in effecting payment to the
                      Claimants pursuant to the certification of the certificates by the
                      Consultants cannot be said by any stretch of imagination to have
                      l:>eenpaid with "Minimal Delay" within the context of Clause 19.0
                      of the Agreement between the parties.

               (xxv)    Under cross-examination on the duration of time to pay an IPC,
                        the following conversation ensued between the Claimants'
                        Witness (CW) and the Respondent's Counsel.

                        Respondent's Counsel:     Now, in this contract agreement was
                                                  there ever any mention of a certain
                                                  number      of days within     which
                                                  certificates must be paid in this
                                                  contract agreement?

                       Claimants' Witness:       It says "minimal delay".

                       Respondent's Counsel:     But it didn't mention any number of
                                                 days.

                       CW:                       It didn't mention but you don't have to
                                                 take one year to pay or 6 months to pay
                                                 {See page 19 transcript of the Hearing
                                                 of 10th April, 2018).

              (xxvi) The Respondent alleges that the construction of the Gully Erosion
                     works was not predicated on payment by the Employer of
                     certified IPCs because the Claimants had represented to the
                     Respondent at the time of bidding for the contract that he had the
                     financial and technical capability to execute the contract. Still on
                     "Minimal Delay", this is what ensued:

                       Respondent's Counsel:     When you bidded for the job, you
                                                 represented to the Government that you
                                                 possessed the financial and technical
                                                 capability to do the job.



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                   CW:                         Yes of course.

                   CW:                         I am trying to say that financial
                                               capability includes ability to take loan
                                              from the Bank. You ju3t cannot walk to
                                               the Bank, ....................................(page23
                                               of the transcript of 10/4/18).

            (xxvii) On his part, the Respondent's first witness Mr. Anthony Afuye had
                    this to say, under cross-examination, about how long it takes the
                    EFO to pay an IPC certified by the Consultant and the Executing
                    Agency:

                   Claimants' Counsel: Your little experience in that department, do
                                       you have the period of delay to reckon with in
                                       payments? Is there any part.'cular period you
                                       people normally supposed          to process
                                       payments?

                   RW1:                 We all (sic) it minimal delay.

                   Claimants' Counsel: Yes. What is the period of minimal delay in
                                       layman language, like us if we want to know
                                       the period?

                   RW1:                Okay. Now with explanation, can I go ahead?

                   Claimants' Counsel: Just tell us the period of m.'nimal delay. We
                                       don't want to know what a minimal delay is.

                  RWl:                 Like before, it's like 4 months.

                  Claimants' Counsel: 4 months?

                  RWl:                 Yes, because of Bureaucracy. Then the
                                       Consultant will raise the /PC at the site.




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                  Claimants' Counsel: You said before it was 4 months. Now, that 4
                                      months you mentioned, is it a law or just your
                                      whimsical decision?

                 RWl:                 No, it is not law but processes.

                 Claimants' Counsel: It's not law.

                 RWl:                 The processes, like presently      there is no
                                      executing agency.

                 Arbitrator:          You say minimal delay amounts to 4
                                      months. Where in the contract do you have
                                      minimal delay? Where in the contract does
                                      this issue of minimal delay show up? In
                                      which Clause?

                 RWl:                 Payment.

                 Arbitrator:          In respect of payment?

                 RWl:                 Yes.

                 Arbitrator:          That the employer must puy with minimal
                                      delay. Where in the contract?

                 Claimants' Counsel: Employer's obligation at 19.0,your Honour.

                 Arbitrator:          What page?

                 Claimants' Counsel: At page 53 of the Amended Points of Claim.
                                     Item No. 1 in that paragraph your Honour. It
                                     said to issue the appropriate certificate
                                     and pay to the Contractor any sum due to it
                                     with minimal delay.

                                      That is why we are talking about delay. Let
                                     themselves know that there would be
                                     delay, but the definition of minimum delay
                                     is what I want to come from him, which he
                                     said is 4 months. And he said it's not a rule,
                                     it is not law. So now, a contract that is


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                                         meant for 52 weeks, that is one year and
                                         there is minimal delay of 4 months, I would
                                         be correct to say that half, or almost half of
                                         the year is gone.

                                         I would be correct to say in a contract of 12
                                         months, minus 4 months, almost half of the
                                         year is gone, am I correct or I'm not
                                         correct?

                  RW1:                   You are correct, but then the execution of the
                                        job is not based on payments.

                  Claimants' Counsel:    Okay, okay.

                 RW1:                    It's based on, yes.

                 Claimants' Counsel: No problem, we'll come to that.

                 RWl:                    The Contractor's claim of finuncial capability.

                 Claimants' Counsel: No problem, so I'm correct.

                 Arbitrator:            Where is the Contractor's claim of financial
                                        capability in the contract?

                 Respondent's Counsel: That's part of the bidding process, it is on the
                                      basis of the - we have documents to actually
                                     back it. It was the basis of the bidding - the
                                     representation at the stage of bidding, it's
                                        part of what is considered to know
                                        whether we want to do the job or not.
                                        Technical and financial bid ............................

                 Claimants' Counsel: But you agree with me also that                    if the
                                        Claimant has capacity to finance the
                                        project with his money, with his funds, it
                                        does not remove the obligation from you to
                                        pay as at when due. You agree with me?




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                     RW1:                Yes I agree with you. {Pages 37 - 40 of the
                                         hearing ofl0/4/18).

              (xxviii) Under re-examination by the Respondent's Counsel, the
                       Respondent's Witness had this to say on the process of payment
                       by the Employer and the role the Consultant has to play in the
                       process.

                     Respondent's Counsel:     And I am asking him, from the record,
                                               from his knowledge, what he knows,
                                                was there any complaint on the part of
                                                Government as to the competence of the
                                                Consultant?

                     RW1:                      And 1said no.

                    Arbitrator:                He has answered.

                    Respondent's Counsel:      He has answered me, he said, no.
                                               Please, can you, from what you know,
                                               specific relation to payment, does a
                                               Consultant pay (sic) any role and if yes,
                                               what?

                    RWl:                       Yes. The Consultant will have to access
                                               the job carried out by the Contractor at
                                               the site, then after assessment, during
                                               that time because things have- changed
                                               now, he would now pass his judgment
                                               through Executing Agency. Executing
                                              Agency in turn will now look at it and
                                              forward it to Ecological Fund Office.
                                               Then for us to be sure of what the
                                              Consultant and the Contractor is
                                              saying, we have to - the officers have to
                                              visit the site for on the spot assessment
                                              of the job. Then after coming back, then
                                              you would write a memo for it.




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                 Respondent's Counsel:    So with respect to every pay, the
                                          Consultant has a role to play.

                 RW1:                     Yes.

               Still on "minimal delay" in the payment of IPCs approved by the
               Consultant, the Respondent's second witness, Mr. Audu Cornelius
               had this to say:

                 RW2:                     My name is Audu Cornelius. I'm a Civil
                                          Servant and I'm employed by the
                                          Ecological Fund Office of the Federal
                                          Government.

                 Arbitrator:              You work?

                 RW2:                     In Ecological Fund Office.

                 Arbitrator:              Okay.

                 Respondent's Counsel:    Please what's your relationship with the
                                          subject matter of this Arbitration, the
                                          project?

                 RW2:                     This project, I happen to be the Project
                                          Manager.

                 Arbitrator:              You were the Project Manager?

                 RW2:                     Yes.

                Arbitrator:               When you say Project Manager, what
                                          do you mean by that?

                 RW2:                     That is, we assess the projects and
                                          ensure that the project is completed.

                Arbitrator:               Okay.

                Arbitrator:               You took over the project when?

                RW2:                     2011.




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                Arbitrator:              Go on.

                RW2:                     And I had the concern that the project
                                         should not be abandoned, to be
                                         completed and we visited the site, we
                                         held series of meeting,; to be sure that
                                         this project is not abandoned. Then the
                                         meeting we held in 2014 when the
                                         Claimant was complaining about
                                         payment was the reason for the
                                         delay, the meeting was extensive, he
                                         came with a team of lawyers and the
                                         Respondent, their own lawyers, we the
                                         project managers were there and we
                                         looked at the issues, our concern and
                                         we now agreed that the /PCs or the
                                         payments were not delayed. We
                                         discovered that /PC No. 1 was paid
                                         early. !PC Nos. 2 and 3 were paid with
                                         minimal delay and !PC No. 4.

                Arbitrator:              Sorry, when you say /PC No. 2 & 3 was
                                         [sic) paid with minimal delay, what do
                                         you mean by minimal delay?

                RW2:                     You know in the contract agreement,
                                         they said /PCs should be paid with
                                         minimal delay and the period in
                                         question is not specified because there
                                         is a process, there is a chain of events
                                         that lead to payments.

                Arbitrator:              So within that context, what do you
                                         consider to be minimal delay? What
                                         was the range of minimal delay?

                RW2:                     It's not specified in there.

               Arbitrator:               Practically



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                 RW2:                     In. the practically,

                 Arbitrator:              Say !PC No.1, No. 2

                 RW2:                     Okay, like /PC No. 1 was paid within 2
                                          months or less than 2 months. Then
                                          /PCs No. 2 and 3 took 4-4 months.

                 Arbitrator:              Within the submission

                 RW2:                     Yes within submission, Yes.

                 Arbitrator:              After the Consultant had certified the
                                          job is done.

                 RW2:                     Even when they've certified that the
                                          job is done and the /PC comes, they
                                          have to send a team of the Project
                                          Manager, Engineers to go and see
                                           what they are saying. They don't
                                          work on paper.

                 Arbitrator:              Who, the Respondent?

                 RW2:                     The EFG.

                 Arbitrator:              Has to send them to go to the site to see
                                          that the work has been done.

                 RW2:                     Yes.

                 Arbitrator:              In accordance with the /PC.

                 RW2:                     Yes.

                Arbitrator:               And it is from that day that it takes four
                                          months to pay.

                RW2:                      No, not from- the process, the four
                                          months you are counting was from
                                          when the letter for the work from
                                          Consultant and EA comes to the office.



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                   Arbitrator:                 when you say EA, who is EA?

                   RW2:                        Executing Agency.

                   Arbitrator:                 That is River Basin?

                   RW2:                        Yes. Then there is a process of sending
                                               another team to the site to confirm if
                                               the documents sent, if they are in order.

                   Arbitrator:                 Okay. So, all of the processes took 4
                                               months in some cases.

                   RW2:                        Yes.

                  Arbitrator:                  Were they eventually paid?

                  RW2:                        Of course, of course, the payments are
                                              there. !PC 1 was paid, 2 was paid, 3 was
                                              paid.

                  Arbitrator:                 Completely?

                  RW2:                        They were paid.

                  Arbitrator:                 In full?

           (xxix) I have gone through a very elaborate and painstaking exercise in
                  respect of the meaning of "minimal delay" in Clause 19.0 (i) of the
                  Contract under the Employer's Obligation, with a view to
                  determining whether the Respondent breached the contract by
                  delayed payments for certified IPCs as alleged by the Claimants:

                  a.   The Respondent admits both in its pleaciings and in the
                       written and oral testimony of its two witnesses that
                       payments for IPCs took a period of 2-4 months to be paid to
                       the Contractor after certification by the Consultant and the
                       Executing Agency, who are agents of the Respondent.

                 b.    RW 1 and RW 2 testify that the payments made to the
                       Contractor within 2-4 months of the certification of the IPCs,
                       were payments made with "minimal delay" as agreed in


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                         Clause 19.0 (i) of the contract, because according to them,
                         processes of confirming the accuracy or authenticity of the
                         information contained in the IPCs had to be carried out.

                  c.    According to the Respondent's witnesses, RWl and RW 2,
                        upon receipt of the IPCs from the Consultants, a project
                        monitoring team is sent to the site to confirm that the work
                        as stated in the IPC has been carried out. It is after this
                        confirmation by the project monitoring team, that the
                        process of payment to the Contractor commences, and this
                        verification process by the EFO,give and take, takes between
                        2-4 months to complete and pay the Contractor. According to
                        them, a delayed payment period of 2-4 months is minimal.

                 d.     According to the Respondent's witnesses, the period of delay
                        is immaterial because the execution of the project does not
                        depend on payment from the Respondent, the Claimants
                        having represented to the Employer during the bidding
                        process that he has both the technical and financial capacity
                        to take on the job, which is the reason why the contract was
                        awarded to him.

                 e.     When asked by Tribunal, whether the Claimants made
                        representations about their financial capacity to undertake
                        the job, the Witnesses testified that the financial ability to
                        undertake the job is part of the requirements for_ being
                        awarded the contract as contained in the Bid document.

                 f.    Under Cross Examination of RW2 in respect of the allegation
                       that the Claimants made representations that they have the
                       financial capacity to undertake the job, the following
                       conversation ensued:

                         Claimants' Counsel: ......................................................In a
                                             project of 12 months and payments are
                                             made within 4 months, 6 months,
                                             irrespective of who that person is,
                                             whether that person is late Abiola
                                             because that is, the person still believed
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                                              to be the richest, do yuu think he would
                                              be able to continue with the job?

                        RW2:                  There is a contract term that the
                                              Contractor should have financial
                                              capability.

                        Claimants' Counsel: Yes.

                        RW2:                  There are some in some cases with
                                              mobilisation, they finished the project.

                        Claimants' Counsel: But you will agree with me that the
                                            mere fact that the Contractor has the
                                            money to execute the program doesn't
                                            denigrate from the fact that you ought
                                            to pay him promptly so that he can foot
                                            the bill of the mortgage because by law
                                            now, if you carry cash, it is money
                                            laundering. It is an offence. You source,
                                            am I correct?

                                             It is your capacity to source for funds,
                                             that is, what shows that you are a man,
                                             you are buoyant; am I correct sir?

                       RW2:                  When you are given a job, they will
                                             examine you. Do you have the.technical
                                             and financial capability?

                       Claimants' Counsel: My question now is that, your ability to
                                            do the job is not whether you have a
                                            lorry load of cash in your backyard, but
                                            that you can source for immediate
                                           funds to do the job. A,n I correct to say
                                            that?

                       RW2:                  I don't understand you.

                       Claimants' Counsel: Ability to seek for fund and get it.



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                        RW2:                  When you said you have capacity-

                        Claimants' Counsel: Listen to me, it is a question that I am
                                             asking." I said, ability to seek for the
                                            fund and get it for the job is what
                                             makes that capacity~ what makes up of
                                             that capacity to do the job.

                        RW2:                  Okay.

                        Claimants' Counsel: . Fine. Okay means what.

                        RW2:                  Yes.

                        Claimants' Counsel: So, now I would be correct to say that
                                                (


                                             the Claimants sourced for fund from
                                             Skye Bank and it was granted to him
                                            for the job, he actually proved that he
                                             has clout, financial clout to execute the
                                            job. I'm correct to say that? (Pages 68-
                                             69 of the hearing of 10/4/18).

            g.   On the Respondent's allegation of the Claimants' representations
                 of financial capacity to execute the contract pursuant to a
                 requirement in the Bid document, on the basis of which the
                 contract was awarded to the Claimants, I have painstakingly
                 perused the Bid Document, that is, the INSTRUCTIONS FOR
                 TENDERING annexed to the Respondent's Amended Points of
                 Defence dated 26t~ March, 2018 as (Annexure 2) at pages 99 - 115
                 of the Respondent's Bundle.

            h.   The Clauses in the Bid Document relevant to the Respondent's
                 allegation that the Claimants represented to the Respondent that
                 they have the financial capacity to undertake the job pursuant to
                 which the contract was awarded to them are:

                 (i)   CLAUSE6.l(ii) OF THE BID DOCUMENT

                       FINANCIALQUALIFICATION.




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                           "The Tenderer shall submit evidence of his financial standing.
                           Preferably this shall include a copy of the last three annual
                           balance sheets and auditor's report together with authority to
                           approach the Tenderer's Bank for a reference".

                    (ii)   CLAUSE 16.0

                           AWARD CRITERIA.

                            "Subject to clause 22, the Employer will award the contract to
                           the successful Tenderer whose tender has been determined to
                           be substantially responsive and has been determined as the
                           most advantageous evaluated tender, provided further that the
                           Tenderer is determined to be qualified to perform the contract
                           satisfactorily. The most advantageous tender is not necessarily
                           the lowest evaluated tender.

                    (iii) CLAUSE 24.0

                           TENDER DEPOSIT.

                            The Tender shall be accompanied by a Bank deposit receipt in
                           favour of the Employer for 5 Million Naira from a Bank
                            incorporated in Nigeria. Alternatively, the deposit may take
                            the form either of a letter of Guarantee from a Bank or of
                            credit confirmed by a Bank in Nigeria made in favour of the
                            Employer.

             (i)   From the relevant Clauses of the BID Document reproduced
                   above, it is obvious that the alleged representations of financial
                   capacity made by the Claimants which earned them the contract,
                   such that the performance of the job will not be dependent upon
                   payment made by the Respondent for jobs already executed and
                   certified for payment by the Consultants.

            U)     Contrary to the Respondent's allegation of the Claimants'
                   representation of financial capacity to execute the project to
                   conclusion, without any payments from the Respondent for jobs
                   certified done, I have not come across any such representation
                   from the Claimants even in the Bid Document as alleged.


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             (k)    I therefore find as fact that the Claimants did not make any
                    representation of their financial capacity to undertake the project .
                    to conclusion without payment by the Respondent for jobs
                    certified satisfactorily executed by the Consultant and the
                    Executing Agency, the Anambra-Imo River Basin Development
                    Authority.

            (I)     From the foregoing, I also find as fact that the alleged financial
                    capacity to execute the contract with the Claimants' own personal
                    funds was not a term of the contract entered into by the parties.

            (m)    It was sufficient that the Claimants had the capacity to approach
                   any bank to obtain a banking facility to executf' the contract, of
                   which there is evidence in the Tribunal's record that the Claimants
                   indeed obtained banking facility from Skye Bank PLC for the
                   purpose of using the funds borrowed for the execution of the
                   contract, a development which the Ecological Fund Office (EFO)
                   was fully aware.

            (n)     It is my candid opinion that the knowledge by the EFO that the
                    Claimants had borrowed money from Skye Bank for the purpose
                   of using the funds to execute the construction project and the
                   EFO's knowledge of the fact that the Bank is about to sell the 2nd
                   Claimant's Residential home which he had mortgaged as security
                   for the Skye Bank loan ought to have been an additional incentive
                   to pay the Claimants promptly for jobs certified by the Consultants
                   as satisfactorily executed. Unfortunately, the Respondent failed to
                   pay the Claimants for jobs satisfactorily completed with the
                   certification of the Consultants with MINIMALDELAYas agreed
                   in their contract.

            (o)    The provision of Clause 19.0(i) of the contract under the
                   Employer's Obligation is very simple, clear, unambiguous and
                   straight forward. At the risk of the repetition, Clause 19. O(i) of the
                   contract unequivocally provides that:




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                        19.0   EMPLOYER'S OBLIGATION.

                       In consideration of the satisfactory execution of the works by the
                       Contractor, the Employer covenants:
                        (i)    To issue the appropriate certificate and pay to the
                               Contractor any sums due to it with MINIMALDELAY.
            (p)       Interpreted literally, it is my firm view that once the Consultant
                      and the Executing Agency have certified an IPC for payment for a
                      job satisfactorily done, the EFO, as the Agent of the Respondent in
                      charge of overseeing the project, is duty bound to effect the
                      payment of any such certificate with minimal delay as agreed.
                      A Minimal Delay, which is a period of time, even less than the one
                      month period allowed for payment under C/a;1se 60(1) of the
                    • Standard Conditions of Contract; or the maximum period of 60
                      days delay provided in Clause 68(1) of the Standard Conditions of
                      Contract which is next in line to the Agreement in the hierarchy of
                      the contractual documents forming part of this contract, AND I SO
                      HOLD.
            (xxx)   The parties are ad idem that payment for certificates certified for
                    payment by the Consultant and the Executing Agency, for jobs
                    satisfactorily executed were delayed for between 2-6 months
                    period before payment to the Claimants were effected, and in
                    most cases, the jobs already completed would hdve deteriorated,
                    necessitating the repeat of the jobs by the Contractor deploying
                    funds finally paid, for jobs already completed for the repeat of
                    deteriorated jobs.
            (xxxi) The only requirement for payment by the EFO to the Contractor
                   for jobs satisfactorily executed as provided in the contract is the
                   certification of the IPC by the Consultant and the Executing
                   Agency.

            (xxxii) To be satisfied that the entries in the IPC certified by the
                    Consultants are authentic and the jobs truly executed
                    satisfactorily, the Respondent's Witnesses testified that upon
                    receipt of an IPC from the Executing Agency, the EFO will
                    thereafter dispatch its own project monitoring team, who are


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                   Engineers to the site for the purpose of verifying that the
                   statements of satisfactory completion of the particular milestone
                   as contained in the IPC is authentic.

           (xxxiii) Although the verification or re-confirmation of IPCs by the EFO, is
                    aot a contractual requirement for payment to the Contractor for
                    work satisfactorily done, I believe this exercise is within the
                    Respondent's prerogative, provided the exercise is carried out
                    promptly to enable the EFO effect payment of certified IPCs with
                    MINIMAL DELAY as agreed by the parties. But this was not the
                    case.

           (xxxiv) In a report to the Permanent Secretary, Ecological Fund Office
                   (EFO) from D. C. Afoenyi, Assistant Legal Adviser, EFO dated 29 th
                   August, 2012 at pages 265 - 269 of the Claimants' Bundle annexed
                   to their Amended Points of Claim, the Assistant Legal Adviser
                   informed the Permanent Secretary, among others, as follows that:

                  "1.   The project isyet to be completed due to conflicting number of
                        reasons to wit: that the Contractor abandoned the site as a
                        result of delayed payments, e.t.c.

                  2.    Among the other numerous factors, such as delayed
                        payments, and the Consultants' incompetence."

           (xxxv) (a) It is important to note that, while the Claimants formulated 2
                      issues for determination as follows:

                  1.    Whether the Defendant is not liable for breach of contract in
                        this case; if the answer to Issue one above is YES, then;

                  2.    Whether in the circumstances of this case, the Claimants are
                        not entitled to all the relief claimed thereof, the Respondent
                        on the other hand, re-formulated its 10 issues earlier filed
                        into a single issue for determination at paragraph 0.3 of its
                        Closing Submission dated 6 th June, 2018 as follows:

                  3.    Whether there has been a breach of the Contract Agreement
                        and by whom, as a basis upon which the Tribunal should
                        determine   entitlement   to any of the relief sought?


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                      (b) In Answer to the question whether there has been a
                          breach of contract and by whom?

                      (c) From the totality of the evidence presented in this case, the
                          Tribunal finds that the Respondent breached the contract by
                          failing to effect payment due to the Claimants for jobs
                          satisfactorily executed by the Claimants and certified by the
                          Consultant and Executing Agency with minimal delay as
                          provided in the contract.

                     ( d) The Tribunal finds that the Claimants are entitled to damages
                          for breach of contract.

                     (e) The Claimants' Issue 1 and the Respondent's sole issue are
                         resolved in favour of the Claimants.

           (xxxvi)        THE OFFER OF N60 MILLION IN FULL AND FINAL
                          SETTLEMENT OF ALL THE CLAIMANTS' CLAIMS AGAINST
                          THE RESPONDENT.

                     a.    The Claimants aver at paragraphs 42-46 of their Amended
                           Points of Claim dated 1st March, 2018 as follows:

                           "42. That the most annoying part of the Defendant's behaviour
                           in this transaction was that they invited us to several
                           settlement meetings and at the last meeting on their own
                           admitted the fault and urged us to collect the sum of N60
                           Million as compensation for the delay aforesaid, which we
                           reluctantly accepted but unfortunately, the Defendant failed to
                           honour their own undertaken (sic) to pay the said sum.

                           43. That after we waited and demanded for payment of N60
                           Million to no avail, the Defendant despite several meetings and
                           discussions relating to the contract neglected the Claimants
                           and did nothing about their own concession to pay the money.
                           The Defendant did not implement any of the issues agreed
                           upon at the meeting for over one year. (See pages 270- 288.)




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                       44. The Claimants shall rely on all the minutes of meetings held
                       by the parties, and the Defendant is hereby put on notice to
                       produce the originals of all the minutes of meetings relevant to
                       this case. We shall also rely on the letter from the Defendant
                       titled Re: "Award of Contract for Umuako Ubirilem Flood
                       Control Measures, Orlu LGA, Orlu Imo State: Settlement
                       dated 20 th October, 2016 and the reply dfl.ted 16/11/16."
                       (See pages 281 and 287.)

                       45. The Claimants sent many letters and correspondence to the
                       office of the Defendant but none of them was ever replied,
                       showing a high level of insensitivity and neglect of the
                       Claimants' plight and predicament".

                 b.    In reply to the above averments, the Respondent averred at
                       paragraphs 34 and 35 of its Amended Points of Defence dated
                       26 th March, 2018 that:

                        "34. The Respondent admits paragraph 42 only to the extent
                       that there were meetings convened aimed at resolving the
                       differences between the parties. The Respondent however
                       denies that the conveyance of the meetings is an admission of
                      fault. The Respondent further denies that it ever admitted fault
                       in any of the meetings. The Respondent states further that the
                       decision of the Respondent to offer the sum of 1¥60 Million was
                      largely based on the magnanimous consideration of the
                      Respondent and compassionate pleas of the Claimants.

                       35. The Respondent denies paragraph 43 of the Claimants'
                       Points of Claim and states that the Claimants never demanded
                      for the 1¥60 Million arrived at in the last meeting. The
                       Respondent states that parties at that meeting had the
                       understanding that the resolution to pay the Claimants the
                      1¥60Million on compassionate grounds was to be forwarded to
                      the relevant government offices to obtain the necessary
                      approvals. The Respondent also states further that it officially
                      communicated the offer to the Claimants after necessary




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                     approvals were secured for the release of the 1¥60 Million to
                     the Claimants."

                c.   The Respondent's first witness, RW 1 had this to say about
                     the settlement offer of N-60 Million:

                       Claimants' Counsel:    Did you ever prepare any Minutes of
                                              meetings at all? In the Minutes of
                                              Meetings, you remember that the
                                              sum, all the remaining sum in
                                              respect of the contract         were
                                              supposed to be paid - the Perm Sec
                                              said it should be paid or be paid to
                                              the Claimant to compensate him in
                                              order to stop this whole "wahala" let
                                              me use the official language. You
                                              can remember?

                       RW 1:                  I disagree with you.

                       Claimants' Counsel:    You disagree with me?

                       RW 1:                  Yes, because I'm the secretary to
                                              that meeting.

                       Claimants' Counsel:   It was not    recorded that they
                                             should pay him any N60 Million?

                       RW 1:                 No, No, see when you annoy the
                                             Permanent Secretary.


                       Claimants' Counsel:   Was it agreed that he should be paid
                                             1¥60 Million?

                       RW 1:                 Because the resolution was made by
                                             us.

                       Claimants' Counsel:   Was it agreed?




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                                 Claimants' Counsel:   Okay, he later agreed after one year.

                                 RW 1:                 Because he wanted us to testify why
                                                       he should be paid 1¥60 Million.

                                 Claimants' Counsel:   After one year, yoil've answered the
                                                       question.

                                 RW 1:                 This is civil service; he said we
                                                       should testify for a period of 9
                                                       months, I keep on writing.,
                                                       writing.

                                 Claimants' Counsel:   Just to pay. And you don't want to
                                                       say the truth the wny it is.

                                 RWl:                  Am I not explaining? I am
                                                       explaining.     We made        that
                                                       resolution. It was a stakeholders'
                                                       resolution out of compassion
                                                       because baba was saying they
                                                       want to sell his house., they want
                                                       to do this.

                      d.     From the above averments and oral testimony of the
                             Respondent's Witness, if the Respondent had paid the N-60
                             Million as promised, this arbitration proceeding would have
                             been unnecessary.

24.9 (E)     THE UNILATERALREDUCTIONOF IPCNO. 5 BY THE EFO.

             (A) THE CLAIMANTS'POSITION.

                 1.        The Claimants allege at paragraph 19 of their Amended Points
                           of Claim that the Respondent through its agent, the Ecological
                           Fund Office (EFO) breached the contract in respect of Interim
                           Payment Certificate (IPC) No. 5 as follows:

                  (i) IPC No. 5 dated 26/3/10 was certified by the Consultant and
                      the Executing Agency for the sum of N30,486,151.17 (Thirty


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                     Million, Four Hundred and Eighty Six Thousand, One
                     Hundred and Fifty One Naira, Seventeen Kobo). However,
                     the EFO unilaterally reduced the value of the IPC to
                     N12,144,406.52 (Twelve Million, One Hundred and Forty
                     Four Thousand, Four Hundred and Six Naira, Fifty Two
                     Kobo) without any notice or reference to the Consultant, the
                     Executing Agency or the Claimants.

               (ii) Payment of N12,144,406.52 (Twelve Million, One Hundred
                    and Forty Four Thousand, Four Hundred and Six Naira,
                    Fifty Two Kobo) for IPC No. 5 was made 6 months after the
                    same was submitted by the Consultants.

               (iii) The balance payment of IPC No. 5 in the sum of
                     N18,341,744.65     (Eighteen Million, Three Hundred and
                     Forty One Thousand, Seven Hundred and Forty Four Naira,
                     Sixty Five Kobo) remains unpaid till date despite several
                     letters of demand.

            (B) THERESPONDENT'SPOSITION.

               (i)   The Respondent admits that IPC No. 5 was approved by the .
                     Consultant   and Executing Agency for the sum of
                     N30,486,151.17 (Thirty Million, Four Hundred and Eighty
                     Six Thousand, One Hundred and Fifty One Naira, Seventeen
                     Kobo).

              (ii) IPC No. 5 had a lot of discrepancies as such its processing took 6
                   months because it took a longer time to resolve the
                   discrepancies in collaboration with the Executing Agency and
                   the Consultant.

              (iii) The IPC was based on the re-scoped BEME.

              (iv) The Contingency Sum in the project which is usually not paid
                   until the· project is fully executed was added to this IPC and had
                   to be deducted.

              (v) The 2.5% of the contract being the Administrative       charges as
                  stipulated in the Agreement had to be deducted.


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                   (vi) There is no balance of any money at all due to the Claimants on
                        IPC No. 5.

                   (vii) IPC No. 5 was subjected to the same verification process as was
                         the case with every other IPCs that had been paid before IPC
                         No.5.


            (C) THE TRIBUNAL'SDECISION.

            (i)    IPC No. 5 dated 26/3/10 states that:"//we hereby certify that the
                   sum of Thirty Million, Four Hundred and Eighty Six Thousand,
                   One Hundred and Fifty One Naira, Seventeen Kobo Only is due for
                   payment to the Contractor for works executed in respect of the
                   contract above."

            (ii)   IPC No. 5, like IPC Nos. 1 - 4 was raised by the Executing Agency,
                   Anambra-Imo River Basin Development Authority and signed by the
                   Consultant, Jones Tech International Ltd in the person of Engr.
                   Bassey Ekanem.

                   The IPC was also signed by all the representatives   of the Executing
                   Agency including its Managing Director.

            (iii) By letter dated 26 th March, 2010, the Consultant forwarded IPC No. 5
                   to (he Managing Director of the Executing Agency as follows:




                        "26 th March, 2010.

                        The Managing Director
                        Anambra/Imo River Basin
                        Development Authority
                        Km 10, Owerri -Aba Road
                        P.M.B.1301
                        Owerri - Imo State.

                        Dear Sir,




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                        UMUAKOUBIRIELEMFLOOD/GULLY EROSIONCONTROL.
                        RE: CONSTRUCTION WORK - INTEP.IM PAYMENT
                        CERTIFICATENO. 5
                        We forward herewith for your consideration and payment,
                        seven (7) copies of Interim Payment Certificate (IPC) No. 5 now
                        due to the Contractor Messrs PICCOL (NIG) LTD for the on-
                        going construction works, out-lines in the heading above.

                        The sum of Thirty Million, Four Hundred and Eighty Six
                        Thousand, One Hundred and Fifty-One Naira, Seventeen Kobo
                        Only (N30,486,151.17) representing        90.8% of permanent
                        works is hereby presented for settlement.
                                            I



                        Yours faithfully,

                        JONES-TECH INT'L LTD."(See page                201 of the Claimants'
                        Bundle).

              (iv) By letter dated 30/3/10,           the Anambra-Imo River Basin Development
                  Authority forwarded               IPC No. 5 to the Ecological Fund Office as
                  follows:


                        "30/03/10.


                        The Permanent Secretary
                        The Ecological Fund Office,
                        Federal Secretariat,
                        Abuja.


                        Sir,

                        UMUAKO-UBIRIELEM FLOOD/EROSION CONTROL
                                              '
                        MEASURESINTERIMPAYMENTCERTIFICATENO. 05.
                                                )




                       We wish to forward for your consideration and payment two
                       copies of interim payment certificate No. 05 for the sum of
                       Thirty Million, Four Hundred and Eight Six Thousand, One
                       Hundred     and    Fifty One      Naira,  Seventeen    Kobo



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                       (N.30,486,151.17) in favour of PICCOL Nig. Ltd. for above
                       mentioned project.


                             Engr.C.A.Uzoho,FNSE
                             Managing Director."

                             (See page 200 of the Claimants' Bundle).

            (v)   By letter dated 11 th August, 2010, after a period of about six (6)
                  months, the National Committee on Ecological Problems, Ecological
                  Fund Office of the Secretary of the Government of the Federation in
                  the Presidency wrote to the Claimants as follows:

                      "11th August, 2010.

                      EF/SEFCP/ S 173/VOL.111/532

                      The Managing Director
                      Messrs Piccol Nig. Ltd.
                      No. 13, Ekiomado Street
                      Uselu Quarters,
                      Benin City.

                      CONSTRUCTION OF EROSION CONTROL STRUCTURES
                      AT UMUAKO UBIRIELEM.     ORLU. IMO STATE.
                      RE: PAYMENT OF CONTACTORS      IPC NO.5

                      I am directed to inform you that the Honourable Minister of
                      Environment and Chairman, National Committee on Ecological
                      problems has approved the payment of N-12,144,406.52
                      (Twelve Million, One Hundred and Forty Four Thousand, Four
                      Hundred and Six Naira, Fifty Two Kobo) only, including VAT
                      and withholding Tax to your company, Messrs PICCOL Nig
                      Limited being payment of Contractor's invoice No. 5 of the
                      above named project.

                   2. Please ensure that you or your accredited representative, come
                      to this office with a letter of authority and two (2) passport size,
                      photographs      attached to it for identification purposes.
                      Meanwhile, you are expected to forward the name of your




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                          Banker, your Account Number, Sort Code and Tax identification
                          Number to facilitate the processing of your payment.

                     3. Congratulations!

                          ]. K. Madaki
                          For Permanent     Secretary" (See page 216 of the Claimants'
                          Bundle)."

               (vi) The    letter   informing   the   Claimants   of   the   payment   of
                   N12,144,406.52 (Twelve Million, One Hundred and Forty Four
                   Thousand, Four Hundred and Six Naira, Fifty Two Kobo) for IPC
                   No. 5 did not give any reason for the reduction of IPC No. 5 from the
                   certified amount of N30,486,151.17           (Thirty Million, Four
                   Hundred and Eight Six Thousand, One Hundred and Fifty •One
                   Naira, Seventeen Kobo) to N12,144,406.52 (Twelve Million, One
                   Hundred and Forty Four Thousand, Four Hundred and Six Naira,
                   Fifty Two Kobo).

              (vii) By letter dated 5th October, 2010, the Claimants wrote to the
                   Honourable Minister, Federal Ministry of Environment strongly
                   protesting the reduction of the IPC No. 5 from N30,486,151.17
                   (Thirty Million, Four Hundred and Eight Six Thousand, One
                  Hundred and Fifty One Naira, Seven Kobo) to NtZ,144,406.52
                  (Twelve Million, One Hundred and Forty Four Thousand, Four
                  Hundred and Six Naira, Fifty Two Kobo) in the certificate
                  prepared and signed by the Consultant and the Anambra-Imo River
                  Basin Development Authority after a joint site measurement was
                  taken. (See page 122 of the Claimants' Bundle).

              (viii) By letter dated 4 th April, 2011, the Anambra-Imo River Basin
                  Development Authority wrote a letter captioned "RE: STALLED
                  PROJECT",to the Permanent Secretary, Ecological Fund Office,
                  giving an update of the Project from inception, cataloguing the
                  various duration of delays in payments, starting from IPC No. 1-
                  IPCNo. 5. The Executing Agency stated that "During the delays in
                  the payment certificates, the contractor was out of site and the
                  erosion escalated to an alarming situation. We are aware that
                  the contractor procured some loans even from the community to


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                    execute the project The Contractor claimed that certificate No.5
                                              II



                    was grossly underpaid and no reason was given for the short
                    payment In the light of the above, it will be appreciated if all
                    earned certificates are paid. The Contractor is claiming that he
                    cannot go back to site with the resources available to him and
                    other issues relating to the site not resolved. If he does not go
                    back to site soonest, we may end up with a worse disaster than
                    we started with.

                     Gratefully assist ...............
                                                     11




                     (See pages 157-158 of the Claimants' Bundle".)

                (ix) In a write-up on the Project by the Presidential Committee on
                    Monitoring of Ecological Projects in the South East Zone, captioned
                    "Monitoring and Evaluation Template":

                    a.    On the issue of delayed payment, the Presidential
                          Committee noted that the delay in the execution of works is
                          due to delayed payment of IPCs by the EFO.

                    b.   It was reported that the Committee visited the site on 18 th
                         March, 2013 and 98% of re-scoped work had been done by
                         August, 2010.

                    c.   The major problem on the site at the time of the visit was their
                         observation that a Contractor was tarring the road at Ubirielem
                         end and also mobilising equipment at Obibi of the contract with
                         a view to complete (sic) the project. It is believed that the NDDC
                         contracted the Contractor. This is · being done without the
                         knowledge of Federal Government (EFO) or PICCOLNig Ltd. We
                         are therefore taking legal action.

                    d.   On IPC No. 5, it was reported that the value of IPC No. 5 is
                         "N30,486,151.17 (Thirty Million, Four Hunrlred and Eighty
                         Six Thousand, One Hundred and Fifty One Naira, Seventeen
                         Kobo) which the EFO reduced to N12,144,406.52      (Twelve
                         Million, One Hundred and Forty Four Thousand, Four
                         Hundred and Six Naira, Fifty Kobo) without any reason. We



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                        wrote the EFO rejecting the reduction. (See pages 252-256 of the
                        Claimants' Bundle).

             (x) The only condition stated in the contract for payment to the
                 Contractor is as provided in Clauses 2.0 (ii) & (v) of the contract on
                 method of payment as follows:

                        "(ii) Payment to the Contractor shall be against a certificate
                        issued under the hand of the Consultants containing a full-
                        itemised statement of the estimated value of the works
                        executed."

             (xi) All subsequent payment shall be made on certification by the
                  Consultants to the Project certifying the works done and
                  recommending the payment for such works in accordance with the
                  conditions in the schedule attached to this Agreement.

             (xii) I have diligently perused IPC No. 5 dated 26/3/10 and I find that the
                   said IPC No. 5 conforms with the provisions of the contract vis-a-vis
                   the conditions for payment and it qualifies for payment to the
                   Contractor as approved by the Consultant. (See page 202 of the
                   Claimants' Bundle).

             (xiii) I find as fact that the Respondent ought to have paid IPC No. 5 in full.
                    The said IPC No.5 having met the contractual standard agreed by the
                    parties.

             (xiv) It is traditional for employers to honour the Architect's or Engineer's
                   payment certificate without question. However, if the certificate does
                   not satisfy the requirements of the contract, the Employer may
                   temporarily susp~nd payment, and seek clarification or resolution of
                   any ambiguities with the Contractor, and then proceed to make
                   payments once all doubts have been cleared.

             (xv) The Employer certainly lack the powers to unilaterally reduce the
                  amount certified for payment to the Contractor by the Consultant
                  and the Executing Agency in IPC No. 5 without giving the Consultant
                  and the Contractor any reasons for doing so.


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            (xvi) It is inappropriate   for the Respondent to have red..iced the amount
                     certified for payment by the Executing Agency and the Consultant
                     without stating the reason for such reduction. The action of the
                     Employer runs contrary to the way the construction industry
                     operates. As Lord Denning once held:

                             "An architect's certificate is like a bill of exchange i.e .
                           . money in the hand and should be honoured."

                         (See 150 Contractual Problems and their Solutions. Blackwell
                         Publishing (2005) @ page 136.)

           (xvii)        From the foregoing I find as a fact that the Respondent breached
                         the contract by reducing the payment due to the Contractor under
                         IPC No. 5 without any explanation to the Executing Agency, the
                         Consultant and the Contractor.

           (xviii)       I also find as fact that the Claimants are entitled to damages for
                         this breach of contract.

           (xix)         This sub-issue is resolved in favour of the Claimants.

    24.9 (F)        UNILATERAL DEDUCTION OF 2.5%                    AS ADMINISTRATIVE
                    CHARGEFROMTHE CONTRACT.

                    (A) CLAIMANTS'POSITION.

                   (i)     The unilateral deduction of 2.5% value of the contract from IPC
                           No. 5 as administrative charge is not provided in the contract.


                   (ii) Provision has already been made for this in the Bill of
                        Quantities in the preliminaries under the heading "Allowance
                        for project management by Employer and Ex~cuting Agency",
                        which sum has already been claimed in full in IPC No. 5,
                          therefore the unilateral introduction     of 2.5% Administrative
                          Charge is fraudulent.




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             (B) RESPONDENT'SPOSITION.
                 (i)   One of the reasons for the delay in the processing of IPC No. 5
                       was because deductions had to be made from the IPC, one of
                       which was the deduction of 2.5% of the contract being
                       Administrative Charge as stipulated in the Agreement.
             (C) TRIBUNAL'SDECISION.
                (i)    I adopt my comments and decision in respect of the unilateral
                       reduction of IPC No. 5 without any notification to the Claimants,
                       also under this head of complaint.

                (ii) As alleged by the Claimants, provision has indeed already been
                     made for this in the Bill of Quantities under the heading
                     preliminaries as follows:

                       "Allowance for project management by Employer and Executing
                       Agency- N4,000,000.00".

                (iii) The Tribunal finds that the deduction of any sum representing
                      2.5% of the contract is inappropriate, provision having already
                      been made for the same in the Bill of Quantities as agreed by
                      the parties.

                (iv) The unilateral deduction of any sum representing 2.5% of the
                     contract as Administrative Charge without any reference to the
                     Claimants, constitute a breach of the contract between the
                     parties, for which the Claimants are entitled to damages.

                (v) This sub-issue is resolvea in favour of the Claimants.

24.9 (G)    THE RESPONDENT'SALLEGATIONOF BREACH OF CONTRACTBY
            THE CLAIMANTS.

            While denying any fault on its part, the Respondent in turn alleges that
            the Claimants breached the agreement by abandoning the site,
            suspending the progress of work, failing to complete the project within
            one year as agreed as well as failing to insure the project.




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              (A) CLAIMANTS'POSITION.
                  (i)   The Claimants deny that they abandoned the site, or failed to
                        progress the work, or failed to complete the work within one
                        year. According to the Claimants, work stopped due to non-
                        payment of certified IPCs by the Respondent. IPCs which were
                        supposed to be paid with minimal delay were unduly delayed
                        for periods between 2 - 6 months.

                  (ii) The Claimants could not have abandoned the site when their
                       equipment and two (2) security staff remained on site.

                  (iii) The Claimants informed the Respondent by several letters to
                        make payment so that work can go on and or resume to no
                        avail. It is the Respondent's failure to pay the IPCs as at when
                        due that is responsible for the failure of the project, until the
                        intervention of the NDDCwhich now completed the work.

                  (iv) The Claimants did not breach the contract by failing to
                       complete the works within one year. The contract between the
                       parties provided for extension of time and the Claimants were
                       duly granted extension of time to complete the works, which
                       completion was made impossible by the Employer's failure to
                       effect payment of certified IPCs as at when due, until work
                       finally stopped in August 25, 2010.

                 (v) The Claimants did not breach the contract by failing to insure
                     the project. The obligation to insure the project is on both
                     parties according to the contract.

                 (vi) Part of the problems encountered on the site was the fact that
                      the Employer appointed an unqualified Engineer as Consultant
                      to the project and when the fact of the qualification of the
                      Engineer arose, or when the Claimants suspected that the
                      Engineer was not qualified, the 2 nd Claimant wrote to the
                      Council for the Regulation of Engineering in Nigeria (COREN),
                      who by letter dated 29 th December, 2011 confirmed that
                      neither Engineer Bassey M. Ekanem nor his Company, Jones
                      Tech International Limited are registered with COREN for the

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                         purpose of carrying out work as Engineers in Nigeria, the
                         Employer did nothing to stop or remove the Consultant despite
                         his incompetence. The Ecological Fund Office acknowledged
                         receipt of COREN's letter disclaiming the Consultant as one of
                         its registered members on 1st February, 2012.

                  (vii) The Claimants could not have abandoned the site under the
                        watchful vigilance of the beneficiary community who will not
                        allow the Claimants to remove their materials from the site
                        until NDDC's intervention in the project.

                  (viii) The Claimants insist that they never abandoned the site which
                         is why the Employer could not terminate the contract.

                  (ix) It is reiterate that the work stopped at the site when payment
                       for work certified done were not forth coming and · the
                       mortgage loan exhausted, without any payment from the
                       Respondent to pay off bank interest already accumulating on
                       the mortgage.

                  (x)    The Claimants state further that there were two (2) security
                         guards on the site. However, with the above equipment and
                         building materials packed at the site and awaiting payment
                         from the Employer, the Employer cannot claim that the site was
                         abandoned.

                  (xi) The Claimants having not breached the contract, the
                       Respondent is not entitled to any damages in the sum of
                       NS0,000,000.00 (Fifty Million Naira).

              (B) THE RESPONDENT'SPOSITION.

                  (i) The Claimants breached the contract in the following ways:

                    a.     Abandonment of site;

                    b.     Suspension of work;




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                     c.     Failure to complete the project within one year and;

                     d.     Failure to carryout insurance on the project as agreed by the
                            parties;

                      e. The Claimants are liable for damages in the sum of
                         NS0,000,000.00  (Fifty Million Naira) for breach of
                         contract.

            (C) THE TRIBUNAL'SDECISION.

               (i)        The Tribunal will take the sub-issues of the Respondent's
                          allegations of abandonment of site and suspension of work
                          together because they are inter-related.

               (ii) As indicated above, the Claimants have              denied that they
                    abandoned the construction as alleged.             According to the
                    Claimants, work merely stopped on the site         when they ran out
                    of funds due to the Respondent's inordinate        delay in honouring
                    the IPCs as at when due.

              (iii) The question that arises for determination under this sub-issue
                    is whether, taking into consideration all the circumstances of
                    this case, the Claimants can be said to have abandoned the
                    construction site as alleged.

              (iv) A good starting point will be to try to understand the meaning
                   of the words "abandon" and "abandonment".

              (v) The word "abandon" is defined as:

                          "To desert, surrender, forsake, or cede. To relinquish or give up
                          with intent of never again resuming one's right or interest. To
                          give up or to cease to use. To give up absolutely, to forsake
                          entirely, to renounce utterly, to relinquish all connections with
                          or concern in. To desert. It includes the intention and the
                          external act of carrying it into effect."




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                         The word "abandonment" is defined as:

                         "To surrender, relinquishment,       disclaimer or cession of
                         property or rights. Voluntary relinquishment of all right.
                         title. claim and possession with the intention of not
                         reclaiming it. (See Black's Law Dictionary, 6th Edition at page 2.)

                   (vi) With the Claimants' denial of the Respondent's allegation of
                        abandonment of site, it is important to examine the contractual
                        provision and penalty for the abandonment of the site and/ or
                        the suspension of the works, vis-a-vis the Claimants' contention
                        that they did not abandon the site as alleged, as their equipment
                        and staff were on site at all material times relevant to the
                        subject matter of this dispute, rather because of the
                        Respondent's excessive delay in honouring IPCs as at when due,
                        work naturally stopped when the Claimants ran out of money
                        and could not continue with the works.

                  (vii) Clause 17.0 of the contract on Material Breach by the
                        Contractor provides that:

                         "If the Contractor commits u material breach of this Agreement
                        and fails to remedy same after 14 days notice to that effect has
                        been given by the Employer, such breach shall be a ground for the
                        Employer to determine this Agreement and take possession of the
                        whole works or if the Contractor defaults in any one or more of
                        the following respects, that is to say:-

                        (a)   If it without reasonable cause, wholly suspends the
                              carrying out of the works before the completion thereof."

                  (viii)That the contractor stopped or suspended the contract is not in
                        doubt. However, the Contractor claims to have suspended work
                        at the site for lack of funds due to the Respondent's delays in
                        effecting payment upon duly certified IPCs.

                 (ix)   The operative phrase in Clause 17.0 (a) of the Contract is
                        "reasonable cause".




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               (x) What then is the meaning of "reasonable cause" or
                   "reasonable"? Reasonable means thinking, acting or speaking
                   from the dictates of reason. (See Black's Law Dictionary 6th
                   Edition at page 1265).

               (xi) "Reasonable cause" also means "justifiable cause". It
                    connotes "justification". It is based on all the facts and
                    circumstances of the Claimants' situation.

               (xii) For the Claimants to benefit from the "reasonable cause"
                     exception in Clause 17.0 of the Contract, the Tribunal must
                     determine whether the Claimants' reason for suspension of
                     works at the site is legitimate, with a view to determining
                     further, whether the Claimants' suspension of works at the site
                     constitute a material breach of the Contract under Clause 17.0
                     of the Contract.

              (xiii)   What then is the impact of the Employer's failure to effect
                       payments of the IPCs as at when due, such that the Claimants
                       ran out of funds to continue with the works at the site?

              (xiv)    It is trite that when construction contracts provide for
                       interim payments, it is usually for the very good reason that
                       the contractors need money to continue with the project.
                       Sometimes, the sums involved are so large that even bigger
                       construction companies feel the pinch when payment is
                       withheld. (See 150 Contractual Problems and their Solutions
                       op.cit at page 135).

              (xv)     Delaying in paying construction         contractors   impacts
                       negatively on the effectiveness of the contractor and affects
                       the project delivery schedule. Failure to pay contractors for
                       work executed may lead to the contracting firm being
                       insolvent and exposed to severe hardship and indignity (as
                       has been the case with the Claimants in the case under
                       consideration).

              (xvi)    The impact of delayed payment is delay in project progress
                       which affects the schedule of work and leads to cost overrun
                       and extension of time.




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       (xvii)   Delayed payments create financial hardship for the
                contractor and in most cases give the contractor a right to
                suspend work.

       (xix)     Since contractors do not work for free, nonpayment or even
                half payment for contractor's certified approved work MAY
                be sufficient legal excuse to quit working and abandon the
                project.

       (xx)     The contractor may therefore suspend work for non-
                payment of certified !PCs, but give notice until the contractor
                has received payment.

       (xx)      On the issue of Notice of Suspension of the works at the site
                due to non-payment of certified IPCs. The records of the
                Tribunal are replete with exchange of communication
                between the parties on the suspension of the works at the
                site. There are several letters from the Claimants pleading to
                be paid overdue certified IPCs to enable them return to the
                site and resume work. There are also several letters from the
                Employer directing the Contractor to return to the site and
                resume work. The parties also held several meetings with a
                view to resolving the issues of delayed payments to enable
                the Contractor return to site and complete the project.

       (xxii) There is also evidence before the Tribunal that the
              Contractor returned to site from time to time, resumed work
              upon payment of an approved but delayed IPC, stops work
              again, when the money is exhausted and the next IPC is
              delayed.

       (xxiii) From the foregoing, I find as fact that the E~O had adequate
               notice of the suspension of works at the site by the
               Contractor. For example, it is stated in the minutes of the
               stakeholders' meeting on the project held on 10 th November,
               2011 at the Office of the Director, Ecological Fund Office,
               where the Project Manager, Mr. Audu Cornelius, of the EFO,
               informed the participants "that the major aim of the meeting
               is to find lasting solution on how the contractor can mobilise
               back to site and complete the project without further delay."
               (See pages 101-112 of the Claimants' bundle).
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                (xxiv) Given the meaning of "abandonment" of site as defined above
                       to mean "to leave completely and finally, forsake utterly,
                       desert", can the Respondent truly say that the Claimants
                       abandoned the site within the meaning of that word?

                (xxv)   From the circumstances of this case, I find as a fact that
                        the Claimants did not suspend work on site "without
                        reasonable cause". The suspension of the works for non-
                        payment of certified IPCs was "justified" within the
                        context of Clause 17.0 of the Contract. Accordingly, the
                        Claimants:

                        a. Did not breach the Contract by suspending the works due
                           to non-payment of certified IPCs, alternatively, I find as
                           fact that the Claimants did not abandon the site within the
                           context of the word "abandonmen..:", and if the
                           Respondent claims that the Claimants abandoned the site,
                           the circumstances      of the case reveal that such
                           abandonment was not "without reasonable cause".

               (xxvi) On the issue of the Claimants' breach of Contract for failure
                      to insure the project, by the agreement of the parties in
                      Clause 4.0 of the Contract, the following documents
                      constitute the contract documents:

                          a.   The tender document, the letter of award of Contract
                               and the letter of acceptance.

                         b.    The Standard Conditions of Contract.

                         c.    The Specification annexed thereto.

                         d.    The Bill of Quantities.

                         e.    The Schedule of rates and prices for day work and

                         f.    The drawings.

               (xxviii) From the above, the provisions of the Standard Conditions of
                        Contract (SCC) are binding on the parties.




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                (xxix) While Clause 21.0 of the Contract obliges the Contractor to
                       insure the entire works in the names of both the Employer
                       and the Contractor, Clause 25 of the Standard Conditions of
                       Contract provides the penalty /remedy for the Contractor's
                       failure to insure the works. Clause 25 of the SCCprovides that
                       if the Contractor shall fail to effect and keep in force any
                       insurance, which he may be required to effect under the
                       terms of the contract, then and in any such case the Employer
                       ma:y effect and keep in force any such insurance and pay such
                       premium or premiums as may be necessary for that purpose
                       and from time to time deduct the amount so paid by the
                       Employer as aforesaid from the monies due or which may
                       become due to the Contractor or recover the same as debt
                       due from the Contractor.

               (xxx)   The Claimants state that insurance is always provided for in
                       the Bill of Quantities, however, there was an oversight on the
                       part of the parties, such that the inclusion of insurance in the
                       Bill of Quantities was inadvertently overlooked, and none of
                       the parties mentioned the issue of insurance or complained
                       about lack of insurance, throughout the duration of the
                       Contract. The allegation of Breach of Contract by the
                       Claimants' failure to insure the works is therefore an
                       afterthought.

               (xxxi) The Tribunal finds as a fact that Clause 25 of the SCChaving
                      provided the penalty for the Contractor's failure to insure the
                      works, the Employer ought to have insured the works and
                      deduct the amount of the premium or premiums from time to
                      time from the monies due or which may become due to the
                      Contractor or recover the same as a debt due from the
                      Contractor, accordingly, the Contractor die!. not breach the
                      Contract for failure to insure the works.

               (xxxii) On the Respondent's allegation that the Claimants bre·ach the
                       Contract by their failure to complete the project within one
                       year, the Tribunal finds, as admitted by the Respondent in its


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                           pleadings that the Contractor was granted three (3)
                           extensions of time pursuant to Clause 12.0 of the Contract.

                   (xxiii) The Employer having exercised its discretion in favour of the
                           Claimants' application for extension of time cannot be heard
                           to complain that the Claimants did not conclude the works
                           within one year as agreed by the parties in the Contract.

                   (xxxiv) The Tribunal accordingly finds as fact that the Claimants did
                           not breach the contract by their failure to conclude the works
                           within one year as alleged.

                   (xxxv) From the foregoing, the Respondent's         reformulated   sole
                          issue for determination, to wit: .

                           Whether there has been a breach of the Contract
                           Agreement and by whom, as a basis upon which the
                           Tribunal should determine entitlement to any relief
                           sought, is answered in the affirmative in favour of the
                           Claimants. There has indeed been a breach of contract by
                           the Employer /Respondent, entitling the Claimants to some
                           of the relief sought.

25.0   THE CLAIMANTS'ISSUE2.

       Whether in the circumstances of this case, the Claimants are not entitled
       to all the reliefs claimed thereof?

25.1   Pursuant to their allegation of breach of Contra~t, the Claimants claim the
       following reliefs against the Respondent:

            i.     A declaration that the Respondent is liable for breach of Contract in
                   Law.

            ii.    The sum of N18,341,744.65     (Eighteen Million, Three Hundred
                   and Forty One Thousand, Seven Hundred and Forty Four Naira
                   Sixty Five Kobo) being balance of the payment for IPC No. 5.

            iii.   The sum of N12,163,067.88 (Twelve Million, One Hundred and
                   Sixty Three Thousand, Sixty Seven Naira, Eighty Eight Kobo)



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                  being payment in respect of work done by the Claimants from the
                  date of Certification of IPC No. 5 to date of work stoppage at the site
                  that is from 12 th April, 2010 to 25 th August, 2010, named Interim
                  Payment Certificate (IPC) No. 6.

            iv.   Cost of repairs of work/ extra works already done by the Claimants
                  from June 2006 to August 2010 is N83,916,000.00 (Eighty Three
                  Million, Nine Hundred and Sixteen Thousand Naira). (See
                  Annexure 24) at pages 233 - 235.

            v.    The sum of N6,240,117.11 (Six Million, Two Hundred and Forty
                  Thousand, One Hundred and Seventeen Naira, Eleven Kobo)
                  being the total sum of interest charges at the rate of 5% on delayed
                  payments for each IPC i.e. IPCs Nos. 1, 2, 3, 4, 5 up till May, 2016. (See
                  Annexure 25) at pages 236 -240, 241 -243A.

           vi.    Interest charges on delayed payment on IPC No. 6 in the sum of
                  NZ,280,575.22    (Two Million, Two Hundred and Eighty
                  Thousand, Five Hundred and Seventy Five Naira, Twenty Two
                  Kobo). (SeeAnnexure 27) at pages 241-243 and 248-249.

           vii. Equipment idle time or loss of use due to incessant delays till date in
                the sum of N245,980,000.00        (Two Hundred and Forty Five
                Million, Nine Hundred and Eighty Thousand Naira). (See
                Annexure 26) at pages 244 - 245.

           viii. Loss of profit in the sum of NSl,179,663.75 (Fifty One Million, One
                 Hundred and Seventy Nine Thousand, Six Hurdred and Sixty
                 Three Naira, Seventy Five Kobo). (See Annexure 28) at pages 246 -
                 247.

           ix:    Interest charges on extra work done at 5% interest rate in the sum of
                  N23,426,550.00     (Twenty Three Million, Four Hundred and
                  Twenty Six Thousand, Five Hundred and Fifty Naira).
                  (See Annexure 29) at pages 248 - 249.

           x.     The sum of NS0,000,000.00       (Fifty Million Naira) as General
                  damages for breach of contract.

           xi.    10% Post Judgment Interest on the total sum of the Award till the
                  same is finally liquidated.



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            xii. Cost of the Arbitration.

 26.0 THE RESPONDENT'S RELIEF.

 26.1        (i)     The Respondent seeks the dismissal of the Claimants' claims as it is
                     brought ma/a.fide and it is lacking in merit, frivolous, fortune
                     seeking and an attempt to reap where they have not sown.

             (ii)    The Respondent seeks General Damages in the sum                  of
                     NS0,000,000.00 (Fifty Million Naira) for breach of contract.

 27.0 CONSIDERATION OF THE RELIEF SOUGHT BY THE CLAIMANTS.

27.1 A breach of contract means that the other party in breach has acted contrary
     to the terms of the contract.

27.2 It is trite that where a breach of contract is established, damages follow. See
     Cameroon Airlines v. Otutuizu (2011) 4 NWLR (part 1238) 512 @ 541 paras
     D-E.

27.3 THE TRIBUNAL'S DECISION ON THE CLAIMANTS' RELIEF.

            (i)     It is hereby DECLARED that the Respondent is liable for breach of
                    contract between the parties.

            (ii) The Claimants' claim for the sum of N18,341,744.65(Eighteen
                    Million, Three Hundred and Forty One Thousand, Seven
                    Hundred and Forty Four Naira, Sixty Five Kobo) being the
                    balance of payment for IPC No. 5 is ALLOWED. The Tribunal holds
                    that IPC No. 5 having been duly certified by the Consultant and the
                    Executing Agency, as being due for payment, it was inappropriate of
                    the Employer to unilaterally reduce the amount approved without
                    any reference whatsoever to the Claimants, the Consultant and the
                    Executing Agency. IPC No. 5 having been certified by the Consultant
                    and the Executing Agency ought to have been paid in full.

            (iii) The Claimants' claim for the sum of N12,163,067.88           (Twelve
                    Million, One Hundred and Sixty Three Thousand, Sixty Seven



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               Naira, Eighty Eight Kobo) being payment in respect of work done
               by the Claimants from the date of the certification of IPC No. 5 to the
               date of work stoppage at the site, that is from 12 th April, 2010 to 25 th
               August, 2010, named Interim Payment Certificate (IPC) No. 6 is
               hereby REFUSED.

               The Tribunal holds as follows that:
                 (a)    As agreed by the parties in Clause 2.0 {ii), (iii) & (iv) of the
                        contract and Clauses 60(1), (3), 68(1), and 75 of the
                        Standard Conditions of Contract, all Interim Payment
                        Certificates SHALLbe executed by the Consultant and the
                        Executing Agency.

                 (b)    Clause 75 of the Standard            Conditions    of Contract
                        specifically provides that:

                        "75. Valuation of the monthly statements SHALL be made in
                       accordance with Clause 60 of the Standard Conditions of
                       Contract. All monthly statements SHALL be certified by the
                       Engineer's Representative on site, or where no representative
                       is available by such procedure as may be laid down by the
                       Engineer, monthly statements should be forwarded to reach
                       the Engineer within 10 days after the month and to which the
                       statement refers."

                 (c)   IPC No. 6 dated 25/08/10 at page 137 of the Claimants'
                       bundle for the sum of N12,163,067.88 (Twelve Million,
                       One Hundred and Sixty Three Thousand, Sixty Seven
                       Naira, Eighty Eight Kobo) is prepared and signed by the
                       Claimants, contrary to Clause 2.0 of the Contract, which
                       provides that:

                         "Payments to the Contractor shall be against a certificate
                         issued under the hand of the Consultants containing a Jul/-
                         itemised statement of the estimated value of the works
                         executed."



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                    (d) The Claimants state that the Consultant was not available on
                        the site to prepare and/or sign IPC No. 6.

                    (e)   If the Consultant was not available to sign IPC No. 6, no
                          explanation at all has been given by the Claimants as to why
                          IPC No. 6 has not been countersigned by the Executing
                          Agency, even if the Consultant was not available to sign IPC
                          No. 6.

                    (f)   By letter dated 4 th April, 2011, at (pages 157-158 of the
                          Claimants' Bundle) the Executing Agency, Ana.mbra-lmo River
                          Basin Development Authority, wrote to the Permanent
                          Secretary, Ecological Fund Office, making c\ strong case for
                          the payment of all earned certificates. No mention of IPC No.
                          6 was made in this letter which was written several months
                          after IPC No. 6 was submitted.

                    (g) While there may be no doubt that the Claimants may have
                        performed the works described in IPC No. 6, however, the
                        said IPC No. 6 does not conform with the agreement of the
                        parties for the purpose of payment of an Interim Payment
                        Certificate.

                    (h) The Tribunal and the parties are bound by the Contract
                        signed by the parties. IPC No. 6 is accordingly REFUSEDfor
                        the above reasons.

             (iv) The Claimants' claim for the cost of repairs of works/extra works
                  already done by the Claimants from June 2006 to August 2010 in the
                  sum of N83,916,000.00 (Eighty Three Million, Nine Hundred and
                  Sixteen Thousand Naira). (See Annexure 24), the particulars of
                  which are at pages 233-235 of the Claimants' Bundle is REFUSED.


                    (a)   Clause 13.0 of the Contract provides that:




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                             "For any variation in the specifications or plan of the works or
                             variation in any of the terms of this Agree'Ylent which may
                             result in an increase of the Contract sum hereinbefore
                            stipulated, the prior written consent of the Employer thereon
                            shall be obtained. If the variation shall result in increase in
                            Contract price, no such variation shall be entertained unless
                            based on written agreement of the parties before the actual
                            variation is made. For the avoidance of doubt, any claim for
                           fluctuation or increase in prices is not within the purview of
                            this agreement."

                     (b) Clause 13.0 of the contract is very clear and unambiguous
                         and there is no evidence of the parties' agreement in respect
                         of the extra works performed by the Claimants.

                     (c) The Claimants ought to have obtained the written agreement
                         of the Employer before proceeding to carry out the extra
                         works.

                     (d) The claim for the sum of N83,916,000.00 (Eighty Three
                         Million, Nine Hundred and Sixteen Thousand Naira) for
                         extra works is accordingly refused.

             (v) The Claimants' claim of the sum of N6,240,117.11 (Six Million, Two
                 Hundred and Forty Thousand, One Hundred and Seventeen
                 Naira, Eleven Kobo) being the total sum of interest charges at the
                 rate of 5% on delayed payments for each of the IPCs i.e. IPC Nos. 1, 2,
                 3, 4, $ up till May 2016, the particulars of which are at pages 241-
                 243A of the Claimants' Bundle is ALLOWED,pursuant to the
                 Tribunal's finding of fact that the Employer breached the contract by
                 delayed payments of certified IPCs.

                    (a)   For a party to be awarded pre-judgment interest, he must
                          show the agreement of the parties in the contract, express or
                          implied, some mercantile usage or statutory provision.




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                             A party who wishes to recover pre-judgment interest must
                             plead facts and render evidence on it. See NPA v. Ahmed
                             (2017) 12 NWLR (part 1578) 72@ pages 95-96, paras F-A.

                       (b)   Clause 60(3) of the Standard Conditions of Contract provides
                             that the Employer shall pay the Contractor interest at the
                             rate of 5% per annum upon all overdue payments from the
                             date on which the same should have been mr¼de.

                       (c)   Having found that the Employer unduly delayed payments on
                             all the IPCs as calculated by the Claimants, the claim for
                             interest of 5% per annum on delayed payments on all
                             certified IPCs conforms with the agreement of the parties
                             and the same is ALLOWED.

             (vi) The Claimants' claim for interest charges on delayed payment on IPC
                  No. 6 in the sum of NZ,280,575.22 (Two Million, Two Hundred
                  and Eighty Thousand, Five Hundred and Seventy Five Naira and
                  Twenty Two Kobo) (Annexure 29) the particulars of which are at
                  pages 248-249 is REFUSED on the basis of the refusal of the
                  Claimants' claim in respect of IPC No. 6.

             (vii) The Claimants' claim on equipment idle time or loss of use due to
                   incessant delays in the sum of N245,980,000.00 (Two Hundred
                   and Forty Five Million, Nine Hundred and Eighty Thousand
                   Naira). (See Annexures 26 and 26A) the particulars of which are at
                   pages 244 - 245 of the Claimants' Bundle is ALLOWED, for the
                   following reasons:

                 (a)     Work stopped on the site as a result of lack of funds due to the
                         Employer's undue delay in the payment of approved and
                         certified !PCs.

                 (b) The Claimants aver at paragraph 52 of their Amended Points
                     of Claim dated 1st March, 2018 that:



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                       "All through the period of the delays, all the equipment and
                       staff could not be diverted to other use leading to heavy loss
                       on idle time. We have itemized and calculated the equipment
                       idle time. (See Annexure 26.)

                (c)    The Respondent avers at paragraph 40 of its Amended Points
                       of Defence dated 26 th March, 2018 that:

                       "The Respondent is not in a position to deny or admit
                       paragraphs 51-53 of the Points of Claim".

                (d)    It is trite that the above traverse in paragraph 40 of the
                       Respondent's Amended Points of Defence is deemed by law to
                       be an admission of the allegation. ·

               (e)    The Claimants further aver at paragraph 56 of their Amended
                      Points of Claim that the Defendant from their attitude towards
                      the project made the Claimants to incur lots of losses on
                      account of the project as follows:

                           i. Loss of return on equipment   which was left idle. Please
                             (See Annexure 26) at pages 244-245.

               (f)    In denying the allegation of loss of equipment in paragraph 56
                      of the Amended Points of Claim, the Respondent now joins
                      issues with the Claimants when it averred at paragraph 42 of its
                      Amended Points of Defence that:

               The Respondent denies in its entirety, paragraph 56 of the Points of
               Claim and states as follows:

                      l.   The Claimant was adequately paid as stipulated in the Bill
                           of Quantities for equipment, and the Respondent cannot be
                           held responsible for any Joss on returns on equipment which
                           was left idle, as the alleged idleness of the equipment was
                           entirely a decision of the Claimants.




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               (g)   The Claimants list the equipment at paragraph 40 of their
                     Amended Reply to the Amended Points of Defence dated 3 rd
                     April, 2018, as follows that the construction equipment and
                     building materials parked at the site include the following:

                       1)    15 ton Avelling Roller                        1 no.

                       2)    Reversing Drum Concrete Mixer                  1"

                       3)    Mercedes Benz Tipper Lorry 1213 type           1"

                       4)    Caterpillar 966 pay loader                     1"

                       5)    0 & K Motor grader                             1"

                       6)    1.5 ton roller                                 1"

                       7)    Atlas copco compressor                        1"

                       8)    Tilting Drum Concrete Mixer                    1"

                       9)    Caterpillar D8 bulldozer                      1"

                       10) 1 ton roller                                    l".

                       11)   Pieces of metal formwork                     200 nos.

                       12)   1.5 ton Volkswagen pickup truck               1 no.

                       13)    BRC mesh                                    50 rolls.

                       14) 10 tons of Iron rod.

                       15) Granite chippings 30 tons.


              h.     The Claimants aver at paragraph 41 of the Reply to the
                     Amended Points of Defence that with the above equipment and
                     building materials packed at the site and awaiting payment
                     from the Defendant, the Defendant cannot claim that the site
                     was abandoned.

              i.     The Claimants further aver at paragraph 52 of the Amended
                     Reply to the Amended Points of Defence that:




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                         "It is clear that the Claimants' equipment parked at the site
                         were idle, and waiting for payment. Some were rented or
                         hired for the job, with rental cost mounting on daily basis.
                                                                                   II




              j.   The Claimants have calculated a 502 days delay period when
                   their equipment lay idle at the site due to non payment by the
                   EFO from the date work stopped on 25 th August, 2010 to 1st
                   April, 2013, totaling the sum of N245,980,000.00         (Two
                   Hundred and Forty Five Million, Nine Hunrlred and Eighty
                   Thousand Naira). See page 244 of the Claimants' Bundle
                   annexed as (Annexure 26) in their Amended Points of Claim.

              k.   Also annexed to the Amended Points of Claim at page 245 of the
                   Claimants' Bundle is a breakdown of the cost of hire or leasing
                   of the equipment dated 4/2/14.

              I.   The breakdown of the calculation of the equipment idle time and
                    the price list of the cost of hiring the equipment are re-
                    produced overleaf as submitted by the Claimants.




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                                       ORSU LGA, IMO STATE
                                 CALCULATIONOF EQUIPMENT IDLETIME

         1. Time when work stopped at the site due to non payment by EFO is 25th
           August 2010.
         2. Time when tresspassers entered the site and removed/sold/vandalized
           equipment packed at the site is 1st April 2013.

 Ou;
         3. Number of average working days allowing for rainy days and equipment
           breakdown in one month = 16 days
           From 25th Aug 2010 to 24th Aug 2011                           =12 Months =192 days.
           From 25th Aug 2011 to 24th Aug 2012                          = 12 Months = 192 days.
           From 25th Aug 2012 to 1st April 2013 = 7 Months and 6 days =118 days. Total                                                         i ·I
           No. of days = 502.
                ITEM        TYPEOF                  NO. OF         HIRE RATE              NO.OF             AMOUn                                   j
                           EQu°IPMENT             EQUIPMENT           OF                   DAYS                NAIRA
                                                                                                                                                    5
                                                                  EQUIPMENT.
                                                                  NAIRA/DAY                                                         . t
'(2)             1        966c Caterpillar            1       '    75,000.00               502          37,650,000.00
                           wheel Loader
                                                                                                                                    : '·ift
                                                                                                                                        .
                                                                                                                                        i.,.
                 2        O&K 130 Motor       '       1             80,000.00              502          40,160,000.00
                                                                                                                                        i'I,

(3)                                                                                                                                     I:·
                              Grader                                                                                                           ·:
(4)              3         Caterpillar 08             1       ' 150,000,00                 502          75,300,000.00                   ·t
                              Bulldozer                                                                                                         ?,:j
                                                                                                                                                ~-1
                 4        15 Ton Aveling              1       I     65,000.00              502          32,630,000.00
                     I
                                                                                                                                  1:1~
                           Benford Roller                     !
                                                              I
                 5       eenford Reversing ·          1       ;     25,000.00              502           12,550,000.00
                          Drum Concrete                                                                                             <      I        'i'
                                 Mixer                                                                                            '; · ·f;!i
                 6          Tilting Drum              1             13,000.00              502           6,526,000.00             ',' ~:,;;
                                                                                                                                  ' .
                                                                                                                                      f1
                          Concrete Mixer
                                                                                                                                               ~·".;!
                 7         Bomag 1 Ten                1             15,000.00              502           7,530,000.00                          f ..,:
                               Roller
                 8        Mecedes Benz                1             25,000.00              502           12,550,000.00
                         Tipper 1213 type     i
                9        Metal Formwork       i      200               80.00               502           8,032,000.00
                10       Atlas Copco Air •.           1              16,000.00             502           8,032,000.00
                           Compressor
                11        1.5 Ton Volks               1              10,000.00             502           5,020,000.00
                          Wagon Pickup
                              Truck
                                                   TOTAL                                               245,980,000.00




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                                         General Kick-StarL"l?rs.              Gcnernlors and all types of
                                                                 :\ ltl!111:11ors,
                                    1\-lai:hinesBulldozer, Perioder J.:.olkrRoud, Construction. Site Cle::tring,
                                     Tarring ofRo~d, Building. Civil Engineering & Equipment Leasing.

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                                                                                                                       _


              PRICE OF LEASING OF EQUIPMENT AS REGULATED PER DAY·O~
                                                                    HOURS
                                                                                                                   ~
             (I)      966c Caterpillar wheel loader                                                 N75,000.00

             (2)       0 & K 130 Motor Grader·                                                      N80,000.00

             (3)      Caterpillar D8 Bulldozer                                                  N 150,000.00

             (4)       15 Ton A veling Benford Roller                                              N65,000.00

             (5)      Benford Reversng Drum Concrete Mixer                                         N25,000.00

          (6)         Tilting Drum Concrete Mixer                                                  Nl3,000.00

          (7)         Bomag 1 Ton Roller                                                          NlS,000.00

          (8)         Mecedes Benz Tipper 1213 type                                              N25,000.00

         . (9).       Atlas COPCO Air Compressor                                                 Nl6,000.00

          (10)        1.5 Ton Yolks Wagon Pickup Trucks LT 35                                    Nl0,000.00




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               m.   The Respondent has not controverted any of the claims of the
                    Claimants in Annexures 26 and 26A which state clearly the
                    equipment and their cost of hire per day. The Respondent has
                    not controverted the allegation of 502 idle days when the
                    equipment lay fallow.

               n.   On 18 th March, 2013, the Presidential Committee on Monitoring
                    of Ecological Projects in the South East visiced the site and
                    confirmed the presence of the equipment on the site together
                    with their monetary value.

              o.    Under cross-examination, RW 2, Audu Cornelius confirmed that
                    as at 2014, the Claimants' equipment were still on the site lying
                    idle, as follows:

                    Claimants' Counsel:      How many times did you visit the site?

                    RW2:                     I was there once.

                    Claimants' Counsel:      Which year was that?

                    RW2:                     May be2014

                    Claimants' Counsel:      You were there once in 2014.

                    RW2:                     Yes, I am not the only one.

                    Claimants' Counsel:     Now you said 2014 you    were there
                                            once, you would agree with me as at
                                            2014 the Claimant was no longer there.

                    RWZ:                    But his equipment were there.

                    Claimants' Counsel:     His equipment were there?

                    RWZ:                    They were on the Site.



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                    Claimants' Counsel:     Okay. As at 2014 his equipment were
                                            there.

                    RW 2:                   And no work was going on.

                    Claimants' Counsel:     I said the equipment was there at the
                                            site.

                    RW 2:                   Nobody is at work.

                   Arbitrator:              In 2014.

                    Claimants' Counsel:     In 2014, his equipment were there at
                                             the site. You would agree with me
                                             that as the Manager of the Project,
                                            all that has to do with this project,
                                            information ought to be at your
                                            fingertips.

              p.   From the foregoing conversation, RW 2, Mr. Audu Cornelius
                   who was the Project Manager and a staff of the EFO confirmed
                   that as at 2014, when he visited the site, the Claimants'
                   equipment were still lying idle at the site.

              q.   It is important to understand that whether equipment is owned
                   or rented, they cost money whenever they are idle. From the
                   foregoing, the Claimants' claim of the sum of N245,980,000.00
                   (Two Hundred and Forty Five Million, Nine Hundred and
                   Eighty Thousand Naira) for equipment idle time is ALLOWED.

              r.   It is important to mention that the equipment not being owned
                   by the Contractor or by a company, in which the Contractor has
                   controlling shares as indicated in Annexure 26A of the Claimants'
                   bundle of documents, is not deemed to become the property of
                   the Respondent pursuant to Clause 53(2) of the Standard
                   Conditions of Contract.



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             (viii)   The     Claimants'
                                       claim for loss of profit in the sum of
                      NSl,179,663.75  (Fifty One Million, One Hundred and Seventy
                      Nine Thousand, Six Hundred and Sixty Three, Naira, Seventy
                      Five Kobo) is ALLOWEDfor the following reasons:

                        (a)    The Claimants aver at paragraphs 54 and 55 of their
                               Amended Points of Claim that the profit margin for the
                               contract was 25%, if there was no delay in payment, the
                               Claimants would have made 25% profit from the job. The
                               Claimants lost the profit of NSl,179,663.75  (Fifty One
                               Million, One Hundred and Seventy Nine Thousand, Six
                               Hundred and Sixty Three Naira, Seventy Five Kobo).
                               (See Annexure 28) at page 246.

                       (b)     The Respondent denies paragraphs 54-55 of the Points of
                               Claim and puts the Claimants to the strictest proof of
                               same. The Respondent further states that it did not delay
                               payments and that loss of "alleged profit" by the Claimants
                               is not a fault of the Respondent.

                       (c)     The Respondent has not controverted the Claimants'
                               particulars of loss of profit annexed as Annexure 28 at
                               page 24 7 of the Claimants' Bundle of documents.

                       (d)    The parties have joined issues on the Claimants' claim of
                              loss of profit. A common thread in the averments of the
                              parties is the fact that the loss of profit is predicated upon
                              the EFO's breach of contract.

                       (e)    The Tribunal having found as fact that the EFO unduly
                              delayed payment thereby breaching the contract between
                              the parties, the Claimants' claim for breach of contract is
                              meritorious, and the same is ALLOWED.




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              (ix.) The Claimants' claim for interest charges on extra works done at 5%
                    interest rate in the sum of N23,426,550.00 (Twenty Three Million,
                    Four Hundred and Twenty Six Thousand and Five Hundred and
                    Fifty Naira) is REFUSEDfor the following reasons:

                        (a)    The Claimants' claim for extra work having been refused
                               for lack of written agreement between the parties, there is
                               no foundation upon which the claim for interest charges
                               for extra work done can be sustained. Something cannot
                               be placed upon nothing. The claim for in~erest charges on
                               extra work is accordingly REFUSED.

             (x.) The Claimants' claim of the sum of NS0,000,000.00 (Fifty Million
                  Naira) as General Damages for breach of contract is REFUSEDfor
                  the following reasons:

                       (a)    The Claimants' claim for the relief granted above are in
                              the form of special damages.

                       (b)     It is trite that as far as breach of contract is concerned, the
                              award of special damages as well as general damages
                              amounts to double compensation, which is not allowed by
                              law. Accordingly, claims for both special and general
                              damages are inappropriate in actions for breach of
                              contract. See Emirates Airlfne v. Aforka (2015) 9 NWLR
                              (part 1463) 80 @ 107 paras D-E.

             (xi) THE RESPONDENT'SCLAIM FOR THE SUM OF NS0,000,000
                  (FIFTY MILLIONNAIRA) AS GENERALDAMAGESfor breach of
                  contract in its closing submissions dated 6th June, 2018 is hereby
                  REFUSED, the Tribunal having found that the Claimants did not
                  breach the contract between the parties as alleged.




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 28.0    SUMMARYOF THE TRIBUNAL'SFINDINGSOF FACTSON THE ISSUESFOR
         DETERMINATION.

         For the reasons set out above, the Tribunal finds that:

         1.    The Respondent breached the contract by unduly delaying the payment
               of Interim Payment Certificates certified by the Consultant and the
               Executing Agency contrary to the provisions of the Agreement between
               the parties.

        2.     The Claimants are entitled to damages for breach of contract.

        3.     There were unnecessary delays in the payment of IPCs to warrant or
               entitle the Claimants to a Declaration of breach of contract.

        4.     The failure of the Claimants to insure the project in the joint names of
               the Employer and the Contractor does not constitute a breach of
               contract, because Clause 25 of the Standard Conditions of Contract
               obliges the Respondent to insure the project when the Claimants fail to
               do so, and deduct the amount of the premium from monies due to the
               Claimants from time to time.

        5.    The Claimants did not abandon the site. The facts and circumstances of
              the case show that work stopped on site when the Claimants ran out of
              funds due to undue delay in the payment of certified IPCs.

        6.    The Claimants did not breach the contract by suspending work, while
              awaiting payment from the EFO to enable them return to site.

        7.    The Claimants did not breach the contract by failing to conclude the
              contract within the contractual period of 52 weeks, because the EFO
              having granted the Claimants extensions of time within which to
              complete the project, the Claimants cannot be liable for failure to
              complete the project as agreed by the parties in their contract. More so,
              as the failure of the Claimants to complete the project within the
              agreed time was due to the Defendant's undue delay in effecting
              payments for certified IPCs.


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       8.         IPC No. 6 did not follow due process; therefore all claims arising from
                  IPC No. 6 are REFUSED.

       9.         There was no written agreement between the parties for the execution
                  of extra works, accordingly, every claim predicated upon extra works is
                  REFUSED.

       10.        The Respondent is liable to pay for equipment idle time for causing the
                  Claimants' equipment to lie fallow.

       11.        The Claimants are entitled to damages for loss of profit-.

       12.        The Respondent is only liable for interest charges in respect of the
                  period of delay in honouring certified IPCs.

29.0   COSTS OF ARBITRATION.

29.1   Article 41 of the Rules of Arbitration of the RCICALprovides that:

                  "The Arbitral Tribunal, in consultation with the Director of the
                  Centre, shall fix the costs of Arbitration in its Award."

29.2   Pursuant to Article 41 of the Rules of the RCICAL, the fees were fixed as
       follows:

             1.    The fees of the Arbitral Tribunal is fixed at the sum of
                   Nll,522,053.08  (Eleven Million, Five Hundred and Twenty Two
                   Thousand, Fifty Three Naira, Eight Kobo).

             2.    The Administrative Fees of the RCICAL is fixed at NS,000,000.00
                   (Five Million Naira).

             3.    The Tribunal's Fee is to be paid in equal share of NS, 761,026.9
                   (Five Million, Seven Hundred and Sixty One Thousand, Twenty
                   Six Naira, Nine Kobo) by the parties.

             4.    The Administrative   Fee of the Centre is to be paid in equal share by
                   the parties.




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             5.   Both parties have paid their share of the Tribunal's fees in the sum of
                  NS, 761,026.9 (Five Million, Seven Hundred and Sixty One
                  Thousijnd, Twenty Six Naira, Nine Kobo) each.

             6.   Both parties have paid their share of the Administrative fees of the
                  Centre, in the sum of N2,500,000.00 (Two Million, Five Hundred
                  Thousand Naira) each.

             7.   The total sum paid by the parties as the Tribunal's fees and the
                  Administrative Fees is the sum of N16,522,053.08 (Sixteen Million,
                  Five Hundred and Twenty Two Thousand, Fifty Three Naira,
                  Eight Kobo ).

 30.0 THE CLAIMANTS'COSTSSUBMISSIONS.

 30.1 The Claimants claim the cost of the Arbitration in their Amended Points of
      Claim dated 1st March, 2018.

30.2 The Claimants further make elaborate submissions on the principles guiding
     the Award of costs, in their closing submissions dated 2rid August, 2018.
     However, the Claimants have not provided the breakdown or the particulars
     of the costs claimed.


31.1   THE RESPONDENT'SCOSTSSUBMISSIONS.

       The Respondent filed its costs submissions dated 6th June, 2018 claiming the
       total sum of N13,611,026.00 (Thirteen Million, Six Hundred and Eleven
       Thousand, Twenty Six Naira, Zero Kobo) broken down as follows:

       a.    The Arbitrator's fees and the Administrative Fees of the RCICAL-
             N8,261,026.0k    (Eight Million, Two Hundred and Sixty One
             Thousand, Twenty Six Naira, Zero Kobo).

       b.    The Respondent's legal fees - N3,000,000.00k    (Three Million Naira).

       c.    Travel, Accommodation and Logistics cost for legal team and witnesses -
             N2,250,000.00  (Two Million, Two Hundred and Fifty Thousand
             Naira).



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         d.   Consequential cost awarded in favour of the Respondent in the course of
              the Arbitration - N100,000.00k {One Hundred Thousand Naira).

 32.0    INTEREST.

 32.1    Article 60(3) of the Standard Conditions of Contract provides that the
         Employer shall pay to the Contractor interest at the rate of 5% per annum
         upon all overdue payment from the date on which the same should have been
         paid.

 32.2    The Claimants have claimed interest at the rate of 5% per annum on all
         delayed payments in this Arbitration proceeding.

32.3    The parties having agreed to pay interest at the rate of $% per annum for all
        overdue payments to the Contractor, as stated in the Standard Conditions of
        Contract, the Contractor's claim for interest at the rate of 5% in appropriate
        cases is ALLOWED.

32.4    The Claimants claim of 10% Post Judgment Interest on the total sum awarded
        to the Claimants till the same is finally liquidated.

33.0    AWARD OF COSTS.

33.1    The Claimants have won seven (7) out of their twelve (12) heads of relief
        claimed, and all the issues formulated for determination by the Tribunal by
        both the Claimants and the Respondent, while the Respondent lost its sole
        claim for relief in the sum of NS0,000,000.00      (Fifty Million Naira) as
        General Damages for breach of contract.

33.2    The Tribunal has considered all the circumstances of this case to determine
        the most appropriate allocation of costs in this Arbitration including the
        principle that costs follow the event.

33.3    The Tribunal has been mindful of the complexity of the legal and factual
        issues which the Tribunal was called to determine, the reasonableness of the
        positions taken by both parties in relation to the legal issues at stake.




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       The Tribun l
            . . a notes that the Claimant h                                  .
       ear l1er Jurisdictional  b'   .          s ad prevailed on the Respondent's
       seven (7) out of th two Jection au d the Claimants have also prevailed on
                             e   1 (12) 1 .
                                eve
       all the issues rais d     h      . c aims put forward by the Claimants and on
                           e on t e merits by the parties.
33.5   In the circumstances the Trib          .
       losing p ty h            '       unal fmds that the Rule according to which the
       th·         ar s ould bear the entire costs of the Arbitration should apply in
           ~s case. Th erefore, the Respondent shall bear the costs of the Arbitration in
        t h 1s case.

33 6
  · The Respondent ought, also, to bear the Claimants' costs in this Arbitration.
     However, the Claimants have not provided the particulars or a breakdown of
     their costs in the Claimants' Final Submission on Costs as directed by the
     Tribunal.

 Now, therefore,        I, DOROTHY UDEME UFOT, SAN, FCIArb (U.K.) CHARTERED
 ARBITRATOR, herein             the Sole Arbitrator, having carefully, diligently and
 honestly considered          the pleadings, the documents, the oral evidence of the
 witnesses, the Agreement of the parties, the Standard Conditions of Contract, and
  the submissions        of Counsel for the parties in this reference, DO HEREBY
  A WARD AND DIRECT AS FOLLOWSTHAT:

         1.      The Respondent shall pay to the Claimants within 21 days from the date
                 of this AWARD, the sum of N18,341,744.65              (Eighteen Million, Three
                 Hundred and Forty One Thousand, Seven Hundred and Forty Four
                    .     •      F"      Kobo) being the balance of payment for Interim
                 Na1ra, Sixty     IVe
                             'fi     (IPC) No 5 with interest at the rate of 5% per annum
                 Payment Cert1 1cate         ·
                                        16 till the date of this FINALAWARDand thereafter at
                 from 3Qth May, 20                                                      . .
                                                            t ·1the whole sum is fully hqmdated.
                                        OL per   annum un   l
                 the same rate of S ;-o




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     2.      The Respondent shall pay to the Claimants within 21 days from the date

             of this AWARD,the sum of N6,240,117.00        ( Six Million, Two Hundred

             and Forty Thousand, One Hundred and Seventeen                Naira) being

             interest charges on delayed payments for IPCs 2, 3, 4 and 5 with interest

             at the rate of 5% per annum, from 30th May, 2016 till the date of this

             AWARDand thereafter at the same rate of 5% per annum until the entire

             sum is fully liquidated.


     3.      The Respondent shall pay to the Claimants within 21 days from the date

             of this AWARDthe sum of N245,980,000.00         (Two Hundred and Forty

             Five Million, Nine Hundred and Eighty Thousand Naira) being the cost

             of equipment idle time, with interest at the rate of 5% per annum from 2 nd

             April, 2013 till the date of this AWARD and thereafter at the same rate of

             5% per annum until the entire sum is fully liquidated.


     4 .•    The Respondent shall pay to the Claimants within 21 days from the date

             of this AWARD the sum of NSl,279,663.75          (Fifty One Mill_ion, Two

             Hundred and Seventy Nine Thousand, Six Hundred and Sixty Three

             Naira, Seventy Five Kobo) being the amount of loss of profit occasioned

             by the Respondent's breach of contract with intereS t at the rate of 5% per

             annum from 25 thOctober, 2010 (when work finally st0 PPed at the site) till

             the date of this AWARD,and thereafter at th e same rate of 5% per annum

             till the entire sum is fully liquidated.




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       5.    The Respondent shall pay to the Claimants within 21 days from the date

             of this AWARDthe sum of NB,261,026.54                   (Eight Million, Two Hundred

             and Sixty One Thousand, Twenty Six Naira, Fifty Four Kobo) being

             50% of the Costs of Arbitration paid by the Claimants less the sum of

             Nl00,000.00      (One Hundred Thousand Naira) being costs awarded

             against the Claimants in the course of the Arbitration, and thereafter at

             the same rate of 5% interest per annum, until the entire sum is fully
             liquidated.



      PLACEOFARBITRATION:LAGOS,NIGERIA

      Signed in Lagos by:




      MRS.DOROTHYUDEMEUFOT,SAN,FCIArb(U.K) Chartered Arbitrator.
                       SOLEARBITRATOR.

                           DATEDTHIS 7 th DAYOF JUNE,2019.




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